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                                          2010-2014
  Date                     From                            To                         Source
                                                                             Email - Electronic   Ticket
8/12/2010        Dubai, United Arab Emirates          Tehran, Iran
                                                                                     (GX2202)
                                                                             Email - Electronic   Ticket
11/11/2010              Tehran, Iran                 Istanbul, Turkey
                                                                                     (GX2222)
                                                                             Email - Electronic   Ticket
11/12/2010             Istanbul, Turkey               Tehran, Iran
                                                                                     (GX2222)
                                                                             Email - Electronic   Ticket
11/15/2010              Tehran, Iran                 Istanbul, Turkey
                                                                                     (GX2227)
                                                                             Email - Electronic   Ticket
12/11/2010             Istanbul, Turkey               Tehran, Iran
                                                                                     (GX2235)
                                                                             Email - Electronic   Ticket
12/15/2010             Istanbul, Turkey               Tehran, Iran
                                                                                     (GX2227)
                                                                             Email - Electronic   Ticket
 2/8/2011                London, UK                   Tehran, Iran
                                                                                     (GX2010)
                                                                             Email - Electronic   Ticket
2/17/2011               Tehran, Iran           Dubai, United Arab Emirates
                                                                                     (GX2012)
                                                                             Email - Electronic   Ticket
2/17/2011        Dubai, United Arab Emirates          Tehran, Iran
                                                                                     (GX2013)
                                                                             Email - Electronic   Ticket
2/19/2011        Dubai, United Arab Emirates          Tehran, Iran
                                                                                     (GX2012)
                                                                             Email - Electronic   Ticket
2/21/2011            Frankfurt, Germany               Tehran, Iran
                                                                                     (GX2209)
                                                                             Email - Electronic   Ticket
4/26/2011               Tehran, Iran           Dubai, United Arab Emirates
                                                                                     (GX2029)
                                                                             Email - Electronic   Ticket
4/30/2011        Dubai, United Arab Emirates          Tehran, Iran
                                                                                     (GX2029)
                                                                             Email - Electronic   Ticket
 5/4/2011              Istanbul, Turkey               Tehran, Iran
                                                                                     (GX2035)
                                                                             Email - Electronic   Ticket
5/14/2011        Dubai, United Arab Emirates          Tehran, Iran
                                                                                     (GX2039)
                                                                             Email - Electronic   Ticket
5/18/2011               Tehran, Iran               Frankfurt, Germany
                                                                                     (GX1104)
                                                                             Email - Electronic   Ticket
5/31/2011               Tehran, Iran               Frankfurt, Germany
                                                                                     (GX1105)
                                                                             Email - Electronic   Ticket
6/19/2011            Frankfurt, Germany               Tehran, Iran
                                                                                     (GX1104)
                                                                             Email - Electronic   Ticket
6/24/2011              Istanbul, Turkey               Tehran, Iran
                                                                                     (GX2045)
                                                                             Email - Electronic   Ticket
6/28/2011               Tehran, Iran               Frankfurt, Germany
                                                                                     (GX1106)
                                                                             Email - Electronic   Ticket
7/17/2011              Istanbul, Turkey               Tehran, Iran
                                                                                     (GX2053)
                                                                             Email - Electronic   Ticket
7/31/2011            Frankfurt, Germany               Tehran, Iran
                                                                                     (GX1105)
                                                                             Email - Electronic   Ticket
8/28/2011            Frankfurt, Germany               Tehran, Iran
                                                                                     (GX1106)
                                                                             Email - Electronic   Ticket
9/17/2011              Istanbul, Turkey               Tehran, Iran
                                                                                     (GX2067)
                                                                             Email - Electronic   Ticket
9/19/2011               Tehran, Iran               Frankfurt, Germany
                                                                                     (GX1107)
                                                                             Email - Electronic   Ticket
9/28/2011            Frankfurt, Germany               Tehran, Iran
                                                                                     (GX1107)
                                                                             Email - Electronic   Ticket
10/10/2011              Tehran, Iran               Frankfurt, Germany
                                                                                     (GX1108)
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                                         2010-2014
  Date                    From                             To                   Source
                                                                       Email - Electronic Ticket
10/11/2011             Tehran, Iran              Istanbul, Turkey
                                                                               (GX1109)
                                                                       Email - Electronic Ticket
10/11/2011          Frankfurt, Germany                Tehran, Iran
                                                                               (GX1108)
                                                                       Email - Electronic Ticket
10/12/2011            Istanbul, Turkey                Tehran, Iran
                                                                               (GX1109)
                                                                       Email - Electronic Ticket
10/13/2011             Tehran, Iran                  Vienna, Austria
                                                                               (GX1110)
                                                                       Email - Electronic Ticket
10/14/2011            Vienna, Austria                 Tehran, Iran
                                                                               (GX1110)
                                                                       Email - Electronic Ticket
11/10/2011            Istanbul, Turkey                Tehran, Iran
                                                                               (GX2079)
                                                                       Email - Electronic Ticket
12/2/2011              Tehran, Iran              Istanbul, Turkey
                                                                               (GX2085)
                                                                       Email - Electronic Ticket
12/10/2011            Istanbul, Turkey                Tehran, Iran
                                                                               (GX2085)
                                                                        Passport P95427954
4/10/2012                                             Tehran, Iran
                                                                             (GX205A-T)
                                                                        Passport P95427954
4/11/2012              Tehran, Iran
                                                                             (GX205A-T)
                                                                        Passport P95427954
 5/9/2012                                             Tehran, Iran
                                                                             (GX205A-T)
                                                                        Passport P95427954
5/14/2012              Tehran, Iran
                                                                             (GX205A-T)
                                                                        Passport H95647761
 2/9/2014                                             Tehran, Iran
                                                                             (GX206A-T)
                                                                        Passport H95647761
2/12/2014              Tehran, Iran
                                                                             (GX206A-T)
                                                                        Passport H95647761
10/8/2014                                             Tehran, Iran
                                                                             (GX206A-T)
                                                                        Passport H95647761
10/10/2014             Tehran, Iran
                                                                             (GX206A-T)
                                                                        Passport H95647761
12/13/2014                                            Tehran, Iran
                                                                             (GX206A-T)
                                                                        Passport H95647761
12/15/2014             Tehran, Iran
                                                                             (GX206A-T)
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                                                           Clarity Fund Transvers via Stratus Global Investments
                                                                       Nov 24, 2011 - Dec 12, 2011
                         ORIGINATING         INTERMEDIARY                        BENEFICIARY
           DATE                                                                                                   CITY        COUNTRY          STATED PURPOSE                AMOUNT (USD)
                           PARTY                 PARTY                               PARTY
                                                                                                                                          Exchange of funds for Client
1    November 24, 2011     Clarity      Stratus Global Investments    GFH Short Interest Private Fund, Inc    Panama City      Panama                                    $       241,650.00
                                                                                                                                                    0045-7
                                                                                                                                          Exchange of funds for Client
2    November 24, 2011     Clarity      Stratus Global Investments    GFH Short Interest Private Fund, Inc    Panama City      Panama                                    $       238,155.00
                                                                                                                                                    0045-7
                                                                          Flores-Hidalgo Sociedades e
3    November 24, 2011     Clarity      Stratus Global Investments                                             Barcelona        Spain         Exchange of funds          $       439,150.50
                                                                                Inversiones, S.L.
                                                                                                                                               Legal Fees-Claims
4    November 25, 2011     Clarity      Stratus Global Investments             Apolo Zona Libre               Panama City      Panama                                    $       150,000.00
                                                                                                                                              Management-IPC19
                                                                                                                                               Legal Fees-Claims
5    November 25, 2011     Clarity      Stratus Global Investments         Samuel Carciente Sananes           Panama City      Panama                                    $       100,000.00
                                                                                                                                              Management-IPC20
                                                                                                                                               Legal Fees-Claims
6    November 25, 2011     Clarity      Stratus Global Investments         Senzani International C.A.         Willestamstad   Curacao                                    $       100,000.00
                                                                                                                                              Management-IPC21
                                                                                                              Los Angeles                      Legal Fees-Claims
7    November 25, 2011     Clarity      Stratus Global Investments         Maruja Ayala de Morales                              USA                                      $       100,000.00
                                                                                                                  (CA)                        Management-IPC22
                                                                                                                                               Legal Fees-Claims
8    November 25, 2011     Clarity      Stratus Global Investments            Kam Pong Cheung                    Enping         China                                    $       100,000.00
                                                                                                                                              Management-IPC23
                                                                                                                                               Legal Fees-Claims
9    November 25, 2011     Clarity      Stratus Global Investments             Agustin Gonzalez                 Maracay       Venezuela                                  $       70,000.00
                                                                                                                                              Management-IPC24
                                                                                                                                            Establishment fee of the
10   November 28, 2011     Clarity      Stratus Global Investments   Healy Consultants (Hong Kong) Limited     Hong Kong        China                                    $         4,800.00
                                                                                                                                             company "Perse VIP"

11   December 1, 2011      Clarity      Stratus Global Investments        America Economia 2021, C.A          Panama City      Panama     Doors for Venezuela Project    $       200,000.00

                                                                                                                                            Equipment for trucks /
12   December 1, 2011      Clarity      Stratus Global Investments       Corporacion Corriager C.A. LLC        Miami (FL)       USA                                      $       220,000.00
                                                                                                                                               Venezuela Project

13   December 1, 2011      Clarity      Stratus Global Investments             Profit Finacial INC            Panama City      Panama     Bricks for Venezuela Project   $       178,550.00

                                                                                                                                          Spare parts for vehicles for
14   December 1, 2011      Clarity      Stratus Global Investments             Lennox Parts LLC                Doral (FL)       USA                                      $       300,000.00
                                                                                                                                               Venezuela Project
                                                                                                                                               Legal Fees-Claims
15   December 1, 2011      Clarity      Stratus Global Investments             Tania Dos Santos               Weston (FL)       USA                                      $       100,000.00
                                                                                                                                              Management-IPC25
                                                                                                                                               Legal Fees-Claims
16   December 1, 2011      Clarity      Stratus Global Investments   Venezolana de Control Intermodal, C.A.     Caracas       Venezuela                                  $       500,000.00
                                                                                                                                              Management-IPC26
                                                                                                                                               Legal Fees-Claims
17   December 1, 2011      Clarity      Stratus Global Investments     Pablo Alejandro Fernandes Martins      Weston (FL)       USA                                      $       150,000.00
                                                                                                                                              Management-IPC27
                                                                                                                                               Legal Fees-Claims
18   December 1, 2011      Clarity      Stratus Global Investments     Virginland Technology Co. Limited       Guangzhou        China                                    $       40,000.00
                                                                                                                                              Management-IPC28
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                                                                                                                                    Legal Fees-Claims
19   December 1, 2011   Clarity      Stratus Global Investments             Pablo Fernandes             Weston (FL)       USA                           $   90,000.00
                                                                                                                                    Management-IPC29
                                                                                                                                    Legal Fees-Claims
20   December 1, 2011   Clarity      Stratus Global Investments        Games Plus Electronic C.A.         Caracas       Venezuela                       $   100,000.00
                                                                                                                                    Management-IPC30
                                                                      1. Totalbank Curacao N.V.                                     Legal Fees-Claims
21   December 1, 2011   Clarity      Stratus Global Investments                                         Willestamstad   Curacao                         $   100,000.00
                                                                      2. Inversiones Keromuchi CA                                   Management-IPC31
                                                                                                                                    Legal Fees-Claims
22   December 1, 2011   Clarity      Stratus Global Investments              Irene Vianello               Caracas       Venezuela                       $   126,000.00
                                                                                                                                    Management-IPC32
                                                                                                                                    Legal Fees-Claims
23   December 1, 2011   Clarity      Stratus Global Investments          Jumbo Zona Libre, S.A             Colon         Panama                         $   103,642.00
                                                                                                                                    Management-IPC33
                                                                      1. Banesco S.A.                                               Legal Fees-Claims
24   December 1, 2011   Clarity      Stratus Global Investments                                         Panama City      Panama                         $   115,507.00
                                                                      2. Inversiones A.M. Canaima C.A                               Management-IPC34
                                                                                                                                    Legal Fees-Claims
25   December 1, 2011   Clarity      Stratus Global Investments          Jumbo Zona Libre, S.A             Colon         Panama                         $   96,358.00
                                                                                                                                    Management-IPC35
                                                                                                                                    Legal Fees-Claims
26   December 1, 2011   Clarity      Stratus Global Investments    Global Morgan Group (HK) Limited      Hong Kong        China                         $   115,000.00
                                                                                                                                    Management-IPC36
                                                                                                                                    Legal Fees-Claims
27   December 1, 2011   Clarity      Stratus Global Investments             Fernando Padron               Caracas       Venezuela                       $   28,500.00
                                                                                                                                    Management-IPC37
                                                                                                                                    Legal Fees-Claims
28   December 6, 2011   Clarity      Stratus Global Investments    Ricardo Antonio Fernandes Sarrico       Aveiro       Portugal                        $   145,000.00
                                                                                                                                    Management-IPC38
                                                                                                                                    Legal Fees-Claims
29   December 6, 2011   Clarity      Stratus Global Investments              Franca Cravino               Varazze         Italy                         $   55,000.00
                                                                                                                                    Management-IPC39
                                                                                                        Staten Island               Legal Fees-Claims
30   December 6, 2011   Clarity      Stratus Global Investments   Vincenzo Conte and Alessandra Conte                     USA                           $   60,000.00
                                                                                                            (NY)                    Management-IPC40
                                                                                                                                    Legal Fees-Claims
31   December 6, 2011   Clarity      Stratus Global Investments    Pablo Alejandro Fernandes Martins       Aveiro       Portugal                        $   50,000.00
                                                                                                                                    Management-IPC41
                                                                                                                                    Legal Fees-Claims
32   December 6, 2011   Clarity      Stratus Global Investments        Senzani International C.A.       Willestamstad   Curacao                         $   200,000.00
                                                                                                                                    Management-IPC42
                                                                                                                                    Legal Fees-Claims
33   December 6, 2011   Clarity      Stratus Global Investments    Global Morgan Group (HK) Limited      Hong Kong        China                         $   170,000.00
                                                                                                                                    Management-IPC43
                                                                                                                                    Legal Fees-Claims
34   December 6, 2011   Clarity      Stratus Global Investments        Jeancenter Corporation S.A          Colon         Panama                         $   250,000.00
                                                                                                                                    Management-IPC44
                                                                                                                                    Legal Fees-Claims
35   December 6, 2011   Clarity      Stratus Global Investments          Jumbo Zona Libre, S.A             Colon         Panama                         $   115,839.00
                                                                                                                                    Management-IPC45
                                                                                                                                    Legal Fees-Claims
36   December 6, 2011   Clarity      Stratus Global Investments            AA Group Limited              Guangzhou        China                         $   325,000.00
                                                                                                                                    Management-IPC46
                                                                      1. Totalbank Curacao N.V.                                     Legal Fees-Claims
37   December 6, 2011   Clarity      Stratus Global Investments                                         Willestamstad   Curacao                         $   100,000.00
                                                                      2. Inversiones Keromuchi CA                                   Management-IPC47
                                                                                                                                    Legal Fees-Claims
38   December 6, 2011   Clarity      Stratus Global Investments        Senzani International C.A.       Willestamstad   Curacao                         $   100,000.00
                                                                                                                                    Management-IPC48
                                                                      Flores-Hidalgo Sociedades e
39   December 7, 2011   Clarity      Stratus Global Investments                                          Barcelona        Spain     Exchange of Funds   $   438,650.00
                                                                            Inversiones, S.L.
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                                                                                                                                    Exchange of Funds for Client
40   December 7, 2011    Clarity      Stratus Global Investments   GFH Short Interest Private Fund, Inc   Panama City    Panama                                    $     240,550.50
                                                                                                                                              0045-7
                                                                                                                                    Exchange of Funds for Client
41   December 7, 2011    Clarity      Stratus Global Investments   GFH Short Interest Private Fund, Inc   Panama City    Panama                                    $     242,100.00
                                                                                                                                              0045-7
                                                                      1. Banesco S.A                                                     Legal Fees-Claims
42   December 8, 2011    Clarity      Stratus Global Investments                                          Panama City    Panama                                    $      25,000.00
                                                                      2. Inversiones A.M. Canaima C.A                                   Management IPC49
                                                                                                                                     Spare parts for vehicles /
43   December 9, 2011    Clarity      Stratus Global Investments            Lennox Parts LLC               Doral (FL)     USA                                      $     450,000.00
                                                                                                                                         Venezuela Project
                                                                                                                                     Tale Provider / Venezuela
44   December 9, 2011    Clarity      Stratus Global Investments              Tecnoser SRL                 Modena         Italy                                    $     200,000.00
                                                                                                                                              Project
                                                                                                                                         Legal Fees- Claims
45   December 9, 2011    Clarity      Stratus Global Investments          May's Zona Libre, S.A             Colon        Panama                                    $     350,000.00
                                                                                                                                        Management-IPC49
                                                                                                                                         Legal Fees- Claims
46   December 12, 2011   Clarity      Stratus Global Investments     Global Morgan Group (HK) Lim.        Hong Kong       China                                    $     180,000.00
                                                                                                                                        Management-IPC50
                                                                                                                                         Legal Fees-Claims
47   December 12, 2011   Clarity      Stratus Global Investments    Ricardo Antonio FernandesSarrico        Aveiro      Portugal                                   $     150,000.00
                                                                                                                                        Management-IPC51
                                                                                                                                         Legal Fees-Claims
48   December 12, 2011   Clarity      Stratus Global Investments         Marsicano Tafuri Emilio            Guatire     Venezuela                                  $     100,000.00
                                                                                                                                        Management-IPC52
                                                                      1. Banesco S.A.                                                    Legal Fees-Claims
49   December 12, 2011   Clarity      Stratus Global Investments                                          Panama City    Panama                                    $     117,365.00
                                                                      2. Inversiones A.M. Canaima C.A                                   Management-IPC53

         TOTAL:                                                                                                                                                    $   8,171,817.00
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                          BY PURPOSE                                         BY COUNTRY                                                      BY BENEFICIARY

           Purpose               Count       Sum of Amount       Country       Count       Sum of Amount                   Beneficiary                Count       Sum of Amount

      Establishment Fee            1     $            4,800.00     China         7     $         934,800.00    GFH Short Interest Private Fund, Inc     4     $         962,455.50

                                                                                                                1. Banesco S.A
      Exchange of funds            6     $        1,840,256.00   Curacao         5     $         600,000.00                                             3     $         257,872.00
                                                                                                                2. Inversiones A.M. Canaima C.A

Legal fees - Claims Management    36     $        4,778,211.00     Italy         2     $         255,000.00      Global Morgan Group (HK) Lim.          3     $         465,000.00

      Venezuela Project            6     $        1,548,550.00   Panama          16    $        2,764,716.50         Jumbo Zona Libre, S.A              3     $         315,839.00

           TOTAL:                 49     $        8,171,817.00   Portugal        3     $         345,000.00         Senzani International C.A.          3     $         400,000.00

                                                                                                                  1. Totalbank Curacao N.V.
                                                                   Spain         2     $         877,800.50                                             2     $         200,000.00
                                                                                                                  2. Inversiones Keromuchi CA
                                                                                                                   Flores-Hidalgo Sociedades e
                                                                   USA           8     $        1,470,000.00                                            2     $         877,800.50
                                                                                                                         Inversiones, S.L.

                                                                 Venezuela       6     $         924,500.00             Lennox Parts LLC                2     $         750,000.00

                                                                 TOTAL:          49    $       8,171,817.00    Pablo Alejandro Fernandes Martins        2     $         200,000.00

                                                                                                               Ricardo Antonio Fernandes Sarrico        2     $         295,000.00

                                                                                                                        AA Group Limited                1     $         325,000.00

                                                                                                                        Agustin Gonzalez                1     $          70,000.00

                                                                                                                  America Economia 2021, C.A            1     $         200,000.00

                                                                                                                        Apolo Zona Libre                1     $         150,000.00

                                                                                                                 Corporacion Corriager C.A. LLC         1     $         220,000.00

                                                                                                                        Fernando Padron                 1     $          28,500.00

                                                                                                                         Franca Cravino                 1     $          55,000.00

                                                                                                                   Games Plus Electronic C.A.           1     $         100,000.00

                                                                                                                 Healy Consultants (Hong Kong)
                                                                                                                                                        1     $           4,800.00
                                                                                                                             Limited

                                                                                                                          Irene Vianello                1     $         126,000.00

                                                                                                                   Jeancenter Corporation S.A           1     $         250,000.00

                                                                                                                       Kam Pong Cheung                  1     $         100,000.00

                                                                                                                     Marsicano Tafuri Emilio            1     $         100,000.00

                                                                                                                    Maruja Ayala de Morales             1     $         100,000.00

                                                                                                                      May's Zona Libre, S.A             1     $         350,000.00

                                                                                                                        Pablo Fernandes                 1     $          90,000.00

                                                                                                                       Profit Finacial INC              1     $         178,550.00

                                                                                                                   Samuel Carciente Sananes             1     $         100,000.00

                                                                                                                        Tania Dos Santos                1     $         100,000.00

                                                                                                                          Tecnoser SRL                  1     $         200,000.00

                                                                                                               Venezolana de Control Intermodal,
                                                                                                                                                        1     $         500,000.00
                                                                                                                             C.A.
                                                                                                                 Vincenzo Conte and Alessandra
                                                                                                                                                        1     $          60,000.00
                                                                                                                              Conte

                                                                                                               Virginland Technology Co. Limited        1     $          40,000.00

                                                                                                                             TOTAL:                    49     $       8,171,817.00
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                                        Payment to Management 1
Date         From           Amount         Description
10.04.2011   Stratus Int.   USD305.885,‐ Annual salary
22.08.2011   SG             USD36.611,‐    Tuition fee
30.09.2011   SG             USD172.000,‐ Compensation/Salary+Bonus
21.11.2011   SG             USD35.901,‐    Salaries Sept/Oct11
09.01.2012   SG             USD24.000,‐    Salaries Nov/Dec11
18.04.2012   SG             USD36.000,‐    Salaries Jan/Feb/Mar12
13.06.2012   SG             USD24.000,‐    Salaries Apr/May12
25.09.2012   SG             USD36.000,‐    Salaries Jun/Jul/Aug12
25.12.2012   Ali Sadr       CAD65.779,38 Final Clearance for Venz project

                                        Payment to Bahram Karimi
21.05.2013 SG               TRY15.000,‐    Salaries Mar/Apr13 Akbank
13.08.2013 Straturk         USD11.685,28 Salaries May/Jun/Jul13 Akbank
27.11.2013 Straturk         USD25.000,‐    Advance payment
                                           Remaining payment for clearance the salary and partial
31.01.2014 Straturk         TRY50.000
                                           bonuses till end of Dec13
14.05.2014 Straturk         USD32.000      Salaries Jan/Feb/Mar/Apr14
14.08.2014 Straturk         TRY34.382,40 Salaries May/Jun14 USD16K
21.10.2014 Straturk         TRY71.974,40 Salaries Jul/Aug/Sept/Oct USD32K

                                           Payment to Ekrem Cınar
Date         From           Amount           Description
05.03.2013   SG             TRY75.717,60     Salaries Dec12, Jan,Feb13 USD42K
21.05.2013   SG             USD28.000        Salaries Mar,Apr13
05.06.2013   Straturk       USD10.000        Monthly advance
08.07.2013   Ali Sadr‐S     USD10.000        Salary Jun13
15.08.2013   Straturk       USD10.000        Salary Jul13
19.09.2013   Ali Sadr‐S     USD10.000        Salary Aug13
18.10.2013   Ali Sadr‐S     USD10.000        Salary Sept13
13.12.2013   Straturk       USD30.000        Salaries Oct‐Nov‐Dec13
07.03.2014   Straturk       USD20.000        Salaries Jan‐Feb14
05.05.2014   Straturk       USD20.000        Salaries Mar‐Apr14
09.05.2014   Straturk       USD45.000        Salary Compensation and performance bonus
15.07.2014   Straturk       TRY21.000        Last payment USD10K

                                        Payment to Mustafa Cetinel
Date         From           Amount         Description
05.06.2013   Straturk       USD10.000      Monthly advance
05.06.2013   Straturk       USD29.500      Close of Venezuela
08.07.2013   Ali Sadr‐S     USD10.000      Salary Jun13
15.08.2013   Straturk       USD10.000      Salary Jul13
19.09.2013   Ali Sadr‐S     USD10.000      Salary Aug13
18.10.2013   Ali Sadr‐S     USD10.000      Salary Sept13
13.12.2013   Straturk       USD30.000      Salaries Oct‐Nov‐Dec13
07.03.2014   Straturk       USD20.000      Salaries Jan‐Feb14
05.05.2014   Straturk       USD20.000      Salaries Mar‐Apr14
14.07.2014   Brittstone     USD20.000      Salaries May‐Jun14
29.08.2014   Ali Sadr‐S     USD20.000      Salaries Jul‐Aug14
28.11.2014   Ali Sadr‐S     USD30.000      Salaries Sept‐Oct‐Nov14

                                   Payment to Mohammad Hajigolam
Date         From           Amount       Description
09.10.2013   Straturk       USD12.000    Salaries Jul,Aug,Sept13
11.12.2013   Straturk       USD8.000     Salaries Oct,Nov13
07.03.2014   Straturk       USD8.000     Salaries Dec13,Jan14
09.05.2014   Straturk       USD8.000     Salaries Feb,Mar14
11.08.2014   Brittstone     USD12.747.82 Salaries Apr,May,Jun14
08.09.2014   Brittstone     USD8.000     Salaries Jul,Aug14

                                    Payment to Tekyen ‐ Semih Arslan
Date         From           Amount        Description
05.03.2013   SG             TRY122.050,05 IPC9‐10 For the total of USD66.700,27
08.08.2013   SG             USD35.353,46 IPC11
24.09.2013   SG             USD32.000     IPC12‐1st installment
30.09.2013   SG             USD31.550,64 IPC12‐2nd installment
12.12.2013   Straturk       USD56.254     IPC13
09.05.2014   Straturk       USD50.000     Final IPC‐1st installment
13.08.2014   Straturk       TRY125.349,60 Final IPC‐2nd and last installment USD58K
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                 EXHIBIT 28-13
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From: Nevins, Talya <NevinsT@dany.nyc.gov>
Sent: Wednesday, March 4, 2020 11:49 AM
To: Lynch, Garrett (USANYS) [Contractor] <GLynch@usa.doj.gov>
Cc: Nelson, Matthew <NelsonM@dany.nyc.gov>
Subject: RE: TRAVEL TO IRAN ‐ Draft Chart

Hi Garrett,

I hope this morning is going well. As far as I’m concerned, the Iran travel summary chart (attached) is
complete.

I did have to make a few judgment calls while verifying the chart against the underlying email exhibits.
Specifically, some of the e‐tickets have different dates for the purchase, the flight, and the ticket’s
NVA/NVB dates. Jane’s chart was not always consistent about which date it listed for the trip. I chose to
always use the Flight Date, except in one instance where there was an NVA date that came earlier than
the “flight date” and the “flight date” in question was duplicative with a different e‐ticket. I can explain
this over the phone if need be.

Pending your final review and approval, this chart is ready to go for whenever you need it.

Talya

From: Nevins, Talya
Sent: Tuesday, March 3, 2020 1:29 PM
To: Lynch, Garrett (USANYS) [Contractor] <Garrett.Lynch@usdoj.gov>
Cc: Nelson, Matthew <NelsonM@dany.nyc.gov>
Subject: TRAVEL TO IRAN ‐ Draft Chart
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Garrett,

Please find attached my draft of the Iran Travel Summary chart. It incorporates the passport analysis as
well as the travel itinerary chart that Jane made based on the emails. It includes all dates that we know
Sadr departed from or arrived in Tehran. Please let me know if you’d like it edited or formatted any
differently.
Two questions:
     1. As previously asked, should I go back to the original emails in order to verify the info included in
         Jane’s chart?
     2. I included a count for “total trips to/from Iran” (43). Jane’s chart had an additional count for
         “round trips to and from Iran.” I am not sure how she counted these “round trips.” As of now I
         only included flights that were directly to or from Iran in my chart. I have a guess that her ‘round
         trip’ count included flights between locations that do not include Tehran (e.g. Tehran to London,
         London to Frankfurt, Frankfurt to Tehran). This flight pattern would not register as a round trip
         on the chart as I have it now, which would exclude that hypothetical ‘London to Frankfurt’ flight.
         I think it would be hard to verify that as a round trip unless the emails obviously show a
         connecting flight (e.g. Tehran‐London, then London‐Tehran with a layover in Frankfurt). Those
         types of connecting flights would not, however, register on the passport analysis. For the sake of
         consistency, I decided to only include flights that directly included Iran as a point of departure or
         arrival, recognizing that this could make it harder to count “round trips.” When you look at the
         chart, please let me know if you think I should change this up.

Thank you,

Talya R Nevins
Paralegal, Major Economic Crimes Bureau
Office of the New York County District Attorney
80 Centre Street, 8th Floor
New York, NY 10013
Phone: 212‐335‐4353




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From: "Krouse, Michael (USANYS)" <MKrouse@usa.doj.gov>
Date: March 5, 2020 at 7:41:50 PM EST
To: "Nevins, Talya" <NevinsT@dany.nyc.gov>, "Lynch, Garrett (USANYS) [Contractor]"
<GLynch@usa.doj.gov>, "Nelson, Matthew" <NelsonM@dany.nyc.gov>
Cc: "Lake, Stephanie (USANYS)" <SLake@usa.doj.gov>, "Kim, Jane (USANYS) 4"
<JKim4@usa.doj.gov>, "Lynch, Garrett" <LynchG@dany.nyc.gov>
Subject: RE: Exhibit for summary chart and existing spreadsheet


Thanks Talya. For the charts by purpose, country, and beneficiary—can you bold the totals and shade
them a different color so they stand out? Once you do that, I think we’re good to go.

For the all payments chart, can you remove the shortened purpose column (that was just to put the
pivot table together), and put the headings on the second page as well. Any way we can make the text
bigger and more readable (by compressing the columns or other ways)?

Can you send them all back in PDF, and we’ll then get them marked?

Thanks.

From: Nevins, Talya <NevinsT@dany.nyc.gov>
Sent: Tuesday, March 3, 2020 9:47 AM
To: Krouse, Michael (USANYS) <MKrouse@usa.doj.gov>; Lynch, Garrett (USANYS) [Contractor]
<GLynch@usa.doj.gov>; Nelson, Matthew <NelsonM@dany.nyc.gov>
Cc: Lake, Stephanie (USANYS) <SLake@usa.doj.gov>; Kim, Jane (USANYS) 4 <JKim4@usa.doj.gov>; Lynch,
Garrett <LynchG@dany.nyc.gov>
Subject: RE: Exhibit for summary chart and existing spreadsheet

Here you go. The Excel contains two tabs: 1. All Payments and 2. Breakdowns, which includes charts by
purpose, country, and beneficiary. I also exported each of the four tables as its own PDF. All attached.

Let me know if you want anything changed or formatted differently.

Good luck this morning with opening!

From: Krouse, Michael (USANYS) [mailto:Michael.Krouse@usdoj.gov]
Sent: Monday, March 2, 2020 9:25 PM

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To: Nevins, Talya <NevinsT@dany.nyc.gov>; Lynch, Garrett (USANYS) [Contractor]
<Garrett.Lynch@usdoj.gov>; Nelson, Matthew <NelsonM@dany.nyc.gov>
Cc: Lake, Stephanie (USANYS) <Stephanie.Lake@usdoj.gov>; Kim, Jane (USANYS) 4
<Jane.Kim@usdoj.gov>; Lynch, Garrett <LynchG@dany.nyc.gov>
Subject: RE: Exhibit for summary chart and existing spreadsheet

Yes, please send. Thanks!

From: Nevins, Talya <NevinsT@dany.nyc.gov>
Sent: Monday, March 2, 2020 12:22 PM
To: Krouse, Michael (USANYS) <MKrouse@usa.doj.gov>; Lynch, Garrett (USANYS) [Contractor]
<GLynch@usa.doj.gov>; Nelson, Matthew <NelsonM@dany.nyc.gov>
Cc: Lake, Stephanie (USANYS) <SLake@usa.doj.gov>; Kim, Jane (USANYS) 4 <JKim4@usa.doj.gov>; Lynch,
Garrett <LynchG@dany.nyc.gov>
Subject: RE: Exhibit for summary chart and existing spreadsheet

Hi Michael,

The charts are done. Can I email them to you? I have them all in both excel and PDF formats.

I ended up doing two rows labeled 1 and 2 for the five payments that had two beneficiaries, as I thought
the extra column made the chart too bulky, but can easily change it back if you prefer.

From: Krouse, Michael (USANYS) [mailto:Michael.Krouse@usdoj.gov]
Sent: Friday, February 28, 2020 6:17 PM
To: Nevins, Talya <NevinsT@dany.nyc.gov>; Lynch, Garrett (USANYS) [Contractor]
<Garrett.Lynch@usdoj.gov>; Nelson, Matthew <NelsonM@dany.nyc.gov>
Cc: Lake, Stephanie (USANYS) <Stephanie.Lake@usdoj.gov>; Kim, Jane (USANYS) 4
<Jane.Kim@usdoj.gov>; Lynch, Garrett <LynchG@dany.nyc.gov>
Subject: RE: Exhibit for summary chart and existing spreadsheet

Thanks, Talya. Yep, add the missing USD payment. Let’s do columns for beneficiary 1, beneficiary 2
(which we’ll leave blank if there was no second beneficiary). We can see how that looks.

From: Nevins, Talya <NevinsT@dany.nyc.gov>
Sent: Friday, February 28, 2020 2:28 PM
To: Lynch, Garrett (USANYS) [Contractor] <GLynch@usa.doj.gov>; Krouse, Michael (USANYS)
<MKrouse@usa.doj.gov>; Nelson, Matthew <NelsonM@dany.nyc.gov>
Cc: Lake, Stephanie (USANYS) <SLake@usa.doj.gov>; Kim, Jane (USANYS) 4 <JKim4@usa.doj.gov>; Lynch,
Garrett <LynchG@dany.nyc.gov>
Subject: RE: Exhibit for summary chart and existing spreadsheet

A few more questions about this chart, for whenever someone has a minute.

    1. There is one more USD payment that is in the PDF, but not the original chart. The payment is
       identical in format to other USD payments that were included, and is the last USD payment in
       the PDF, leading me to believe that it was just left off. I added it to my chart, but if there’s some
       reason it shouldn’t be included, please let me know. The payment is found on p. 51 of the PDF.
    2. There are 5 payments that list different names as “beneficiario” and “beneficiario final” (most
       only list “beneficiario”). The original chart only lists the name that is given for “beneficiario,” and


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          leaves off the “beneficiario final.” Should I stick with this format? I can be more specific if
          necessary. Those payments are found on pp. 22, 25, 39, 44, and 51 of the PDF.

Talya

From: Lynch, Garrett (USANYS) [Contractor] [mailto:Garrett.Lynch@usdoj.gov]
Sent: Friday, February 28, 2020 1:35 PM
To: Nevins, Talya <NevinsT@dany.nyc.gov>; Krouse, Michael (USANYS) <Michael.Krouse@usdoj.gov>;
Nelson, Matthew <NelsonM@dany.nyc.gov>
Cc: Lake, Stephanie (USANYS) <Stephanie.Lake@usdoj.gov>; Kim, Jane (USANYS) 4
<Jane.Kim@usdoj.gov>; Lynch, Garrett <LynchG@dany.nyc.gov>
Subject: RE: Exhibit for summary chart and existing spreadsheet

Just the USD payments. Thanks!

From: Nevins, Talya <NevinsT@dany.nyc.gov>
Sent: Friday, February 28, 2020 1:33 PM
To: Krouse, Michael (USANYS) <MKrouse@usa.doj.gov>; Nelson, Matthew <NelsonM@dany.nyc.gov>
Cc: Lake, Stephanie (USANYS) <SLake@usa.doj.gov>; Kim, Jane (USANYS) 4 <JKim4@usa.doj.gov>; Lynch,
Garrett <LynchG@dany.nyc.gov>; Lynch, Garrett (USANYS) [Contractor] <GLynch@usa.doj.gov>
Subject: RE: Exhibit for summary chart and existing spreadsheet

Michael,

I am going through the 52‐page PDF and verifying the charts you sent over before I make a new one.
I noticed that in the 52‐page PDF there are records relating to 48 USD payments (Clarity‐Stratus‐
Benficiary) as well as 1 EUR payment (Stratus‐Beneficiary) and 1 CAD payment (Stratus‐Beneifciary).
Only the 48 USD payments are included in the charts you sent. Do you want me to incorporate the EUR /
CAD payments into the chart that I make for trial, or otherwise address them?

Thanks,

Talya



From: Krouse, Michael (USANYS) [mailto:Michael.Krouse@usdoj.gov]
Sent: Thursday, February 27, 2020 7:56 PM
To: Nevins, Talya <NevinsT@dany.nyc.gov>; Nelson, Matthew <NelsonM@dany.nyc.gov>
Cc: Lake, Stephanie (USANYS) <Stephanie.Lake@usdoj.gov>; Kim, Jane (USANYS) 4
<Jane.Kim@usdoj.gov>; Lynch, Garrett <LynchG@dany.nyc.gov>; Lynch, Garrett (USANYS) [Contractor]
<Garrett.Lynch@usdoj.gov>
Subject: FW: Exhibit for summary chart and existing spreadsheet




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Kim, Jane (USANYS) 4

From:                                Lake, Stephanie (USANYS)
Sent:                                Saturday, March 7, 2020 4:24 PM
To:                                  Weingarten, Reid; Heberlig, Brian; Silverman, Nicholas
Cc:                                  Krouse, Michael (USANYS); Kim, Jane (USANYS) 4; Lynch, Garrett (USANYS)
                                     [Contractor]; Milione, Shawn (USANYS) [Contractor]
Subject:                             RE: U.S. v. Sadr


Counsel,

We attempted to send you a number of attachments, which will not go through without encryption. It looks like
Steptoe’s servers are blocking the encrypted email. Shawn will upload the files to the link he has been using. The
descriptions are below.

Stephanie

From: Lake, Stephanie (USANYS)
Sent: Saturday, March 07, 2020 4:04 PM
To: Weingarten, Reid <RWeingarten@steptoe.com>; Heberlig, Brian <BHeberlig@steptoe.com>; Silverman, Nicholas
<nsilverman@steptoe.com>
Cc: Krouse, Michael (USANYS) <MKrouse@usa.doj.gov>; Kim, Jane (USANYS) 4 <JKim4@usa.doj.gov>; Lynch, Garrett
(USANYS) [Contractor] <GLynch@usa.doj.gov>; Milione, Shawn (USANYS) [Contractor] <SMilione@usa.doj.gov>
Subject: U.S. v. Sadr

Counsel,

Mr. Dubowitz is still very ill. As a result, we do not intend to call him as a witness in our case‐in‐chief. It’s possible that,
depending on the defense case, we will call him as a rebuttal witness.

In addition, we’ve attached the following documents:

    ‐   Updated GX 2284D – there were formatting problems with our version. We think the attached corrects them.
    ‐   3508‐08 – 3500 from today
    ‐   GX 411 – we intend to offer this on Monday. Let us know if you will stipulate to authenticity.
    ‐   GX 456 – we intend to offer this on Monday. Let us know if you will stipulate to authenticity.
    ‐   GX 495A & B – we intend to offer these on Monday (likely in redacted form), although think a stipulation that
        the defendant had bank accounts at HSBC from January 2010 through October 2013 might be simpler. Let us
        know how you prefer to proceed.
    ‐   GX 704 – this is the modified version of the travel chart. Please confirm whether you have any remaining
        concerns.
    ‐   GX 705A & B – these are summary charts reflecting the information in GX 2090A. Please confirm whether you
        have any objections.
    ‐   Updated GX 2304A – we enlarged some of the cells, as the formatting of the PDFd excel file was cutting off some
        of the data. The content is the same.
    ‐   3504‐10 – Peri 3500, which was provided in hard copy yesterday morning.
    ‐   3505‐06 – Blair 3500, which was provided in hard copy yesterday morning.
    ‐   3513‐02 – Paralegal 3500 for summary chart (you may already have this)
    ‐   3513‐03 – Paralegal 3500 for summary chart (you may already have this)

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We are still working on one additional summary chart, which we expect to provide later today.

Stephanie Lake
Assistant United States Attorney
Southern District of New York
One Saint Andrew’s Plaza
New York, NY 10007
Tel: (212) 637‐1066




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Kim, Jane (USANYS) 4

From:                                       Silverman, Nicholas <nsilverman@steptoe.com>
Sent:                                       Saturday, March 7, 2020 4:34 PM
To:                                         Milione, Shawn (USANYS) [Contractor]; Lake, Stephanie (USANYS); Kim, Jane (USANYS)
                                            4; Krouse, Michael (USANYS); 'Garrett Lynch'
Subject:                                    RE: Alternative Upload Link



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Nicholas P. Silverman
Associate
nsilverman@steptoe.com


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From: Silverman, Nicholas
Sent: Saturday, March 7, 2020 4:27 PM
To: Milione, Shawn (USANYS) [Contractor] <Shawn.Milione@usdoj.gov>; Lake, Stephanie (USANYS)
<Stephanie.Lake@usdoj.gov>; jane.kim@usdoj.gov; michael.krouse@usdoj.gov; Garrett Lynch <LynchG@dany.nyc.gov>
Subject: Alternative Upload Link

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Nicholas P. Silverman
Associate
nsilverman@steptoe.com


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Kim, Jane (USANYS) 4

From:                                       Lake, Stephanie (USANYS)
Sent:                                       Saturday, March 7, 2020 4:36 PM
To:                                         Silverman, Nicholas; Milione, Shawn (USANYS) [Contractor]; Kim, Jane (USANYS) 4;
                                            Krouse, Michael (USANYS); 'Garrett Lynch'
Subject:                                    RE: Alternative Upload Link


That’s correct.

From: Silverman, Nicholas <nsilverman@steptoe.com>
Sent: Saturday, March 07, 2020 4:34 PM
To: Milione, Shawn (USANYS) [Contractor] <SMilione@usa.doj.gov>; Lake, Stephanie (USANYS) <SLake@usa.doj.gov>;
Kim, Jane (USANYS) 4 <JKim4@usa.doj.gov>; Krouse, Michael (USANYS) <MKrouse@usa.doj.gov>; 'Garrett Lynch'
<LynchG@dany.nyc.gov>
Subject: RE: Alternative Upload Link

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Nicholas P. Silverman
Associate
nsilverman@steptoe.com


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From: Silverman, Nicholas
Sent: Saturday, March 7, 2020 4:27 PM
To: Milione, Shawn (USANYS) [Contractor] <Shawn.Milione@usdoj.gov>; Lake, Stephanie (USANYS)
<Stephanie.Lake@usdoj.gov>; jane.kim@usdoj.gov; michael.krouse@usdoj.gov; Garrett Lynch <LynchG@dany.nyc.gov>
Subject: Alternative Upload Link

Click here to upload files.

In case the other link continues giving you trouble.

Nicholas P. Silverman
Associate
nsilverman@steptoe.com


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Kim, Jane (USANYS) 4

From:                                Heberlig, Brian <BHeberlig@steptoe.com>
Sent:                                Saturday, March 7, 2020 4:57 PM
To:                                  Lake, Stephanie (USANYS); Weingarten, Reid; Silverman, Nicholas
Cc:                                  Krouse, Michael (USANYS); Kim, Jane (USANYS) 4; Lynch, Garrett (USANYS)
                                     [Contractor]; Milione, Shawn (USANYS) [Contractor]
Subject:                             RE: U.S. v. Sadr



We request immediate disclosure of (1) where GX411 came from, (2) how long it has been in
the government’s possession, (3) why we are only receiving it today. This is the second
episode—along with GX430, GX431, and GX432—of the government producing fundamentally
exculpatory documents mid‐trial. In this instance, the document was produced after the
government’s OFAC witness, who would have been subject to cross‐examination on this
document. Provide this information by 6 pm or we will see the intervention of the Court.

From: Lake, Stephanie (USANYS) <Stephanie.Lake@usdoj.gov>
Sent: Saturday, March 7, 2020 4:24 PM
To: Weingarten, Reid <RWeingarten@steptoe.com>; Heberlig, Brian <BHeberlig@steptoe.com>; Silverman, Nicholas
<nsilverman@steptoe.com>
Cc: Krouse, Michael (USANYS) <Michael.Krouse@usdoj.gov>; Kim, Jane (USANYS) 4 <Jane.Kim@usdoj.gov>; Lynch,
Garrett (USANYS) [Contractor] <Garrett.Lynch@usdoj.gov>; Milione, Shawn (USANYS) [Contractor]
<Shawn.Milione@usdoj.gov>
Subject: RE: U.S. v. Sadr

Counsel,

We attempted to send you a number of attachments, which will not go through without encryption. It looks like
Steptoe’s servers are blocking the encrypted email. Shawn will upload the files to the link he has been using. The
descriptions are below.

Stephanie

From: Lake, Stephanie (USANYS)
Sent: Saturday, March 07, 2020 4:04 PM
To: Weingarten, Reid <RWeingarten@steptoe.com>; Heberlig, Brian <BHeberlig@steptoe.com>; Silverman, Nicholas
<nsilverman@steptoe.com>
Cc: Krouse, Michael (USANYS) <MKrouse@usa.doj.gov>; Kim, Jane (USANYS) 4 <JKim4@usa.doj.gov>; Lynch, Garrett
(USANYS) [Contractor] <GLynch@usa.doj.gov>; Milione, Shawn (USANYS) [Contractor] <SMilione@usa.doj.gov>
Subject: U.S. v. Sadr

Counsel,

Mr. Dubowitz is still very ill. As a result, we do not intend to call him as a witness in our case‐in‐chief. It’s possible that,
depending on the defense case, we will call him as a rebuttal witness.

In addition, we’ve attached the following documents:

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   ‐   Updated GX 2284D – there were formatting problems with our version. We think the attached corrects them.
   ‐   3508‐08 – 3500 from today
   ‐   GX 411 – we intend to offer this on Monday. Let us know if you will stipulate to authenticity.
   ‐   GX 456 – we intend to offer this on Monday. Let us know if you will stipulate to authenticity.
   ‐   GX 495A & B – we intend to offer these on Monday (likely in redacted form), although think a stipulation that
       the defendant had bank accounts at HSBC from January 2010 through October 2013 might be simpler. Let us
       know how you prefer to proceed.
   ‐   GX 704 – this is the modified version of the travel chart. Please confirm whether you have any remaining
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   ‐   Updated GX 2304A – we enlarged some of the cells, as the formatting of the PDFd excel file was cutting off some
       of the data. The content is the same.
   ‐   3504‐10 – Peri 3500, which was provided in hard copy yesterday morning.
   ‐   3505‐06 – Blair 3500, which was provided in hard copy yesterday morning.
   ‐   3513‐02 – Paralegal 3500 for summary chart (you may already have this)
   ‐   3513‐03 – Paralegal 3500 for summary chart (you may already have this)

We are still working on one additional summary chart, which we expect to provide later today.

Stephanie Lake
Assistant United States Attorney
Southern District of New York
One Saint Andrew’s Plaza
New York, NY 10007
Tel: (212) 637‐1066




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                 EXHIBIT 33
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Kim, Jane (USANYS) 4

From:                              Kim, Jane (USANYS) 4
Sent:                              Saturday, March 7, 2020 5:22 PM
To:                                Weingarten, Reid


Really, Reid??

Jane Kim
Assistant United States Attorney
Southern District of New York
One St. Andrew’s Plaza
New York, New York 10007
Phone: (212) 637‐2038
Email: jane.kim@usdoj.gov




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                 EXHIBIT 34
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Kim, Jane (USANYS) 4

From:                              Lake, Stephanie (USANYS)
Sent:                              Saturday, March 7, 2020 5:23 PM
To:                                Krouse, Michael (USANYS); Kim, Jane (USANYS) 4; Lynch, Garrett (USANYS) [Contractor]
Subject:                           Proposed response


Brian,

We do not agree with your characterization of GX 430, 431, 432, or 411 as Brady. These are all exhibits the Government
has introduced or is seeking to introduce in our case. Perhaps you can explain how it is you think GX 411 is helpful to
your case.

In any event, we have been aware of the letter since mid‐January. We thought it was part of the Commerzbank
subpoena return that was produced in discovery. We now understand that it came from an unrelated DANY
investigation, and therefore was not in the Commerzbank subpoena return.

It is not clear to us how this document would have been relevant to the OFAC witness’s testimony.


Stephanie Lake
Assistant United States Attorney
Southern District of New York
One Saint Andrew’s Plaza
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Tel: (212) 637‐1066




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                 EXHIBIT 35
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Kim, Jane (USANYS) 4

From:                              Weingarten, Reid <RWeingarten@steptoe.com>
Sent:                              Saturday, March 7, 2020 5:34 PM
To:                                Kim, Jane (USANYS) 4
Subject:                           Re:



Catching up...(I have a hideous birthday this weekend and my family is gathering from around the world)...I
assume your q is about our reaction to the commerzbank exhibit that just came in...does seem passing strange
we never saw it before...(or did we?)...let's clear that up and then we will figure out where we go with it

Sent from my BlackBerry 10 smartphone.
From: Kim, Jane (USANYS) 4
Sent: Saturday, March 7, 2020 5:21 PM
To: Weingarten, Reid
Subject:

Really, Reid??

Jane Kim
Assistant United States Attorney
Southern District of New York
One St. Andrew’s Plaza
New York, New York 10007
Phone: (212) 637‐2038
Email: jane.kim@usdoj.gov




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                 EXHIBIT 36
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Kim, Jane (USANYS) 4

From:                             Kim, Jane (USANYS) 4
Sent:                             Saturday, March 7, 2020 5:36 PM
To:                               Heberlig, Brian; Lake, Stephanie (USANYS); Weingarten, Reid; Silverman, Nicholas
Cc:                               Krouse, Michael (USANYS); Lynch, Garrett (USANYS) [Contractor]; Milione, Shawn
                                  (USANYS) [Contractor]
Subject:                          RE: U.S. v. Sadr


Brian,

We do not agree with your characterization of GX 430, 431, 432, or 411 as Brady. These are all exhibits the Government
has introduced or is seeking to introduce in our case. Perhaps you can explain how it is you think GX 411 is helpful to
your case.

In any event, we have been aware of the letter since mid‐January. We thought it was part of the Commerzbank
subpoena return that was produced in discovery. We now understand that it came from an unrelated DANY
investigation, and therefore was not in the Commerzbank subpoena return.

It is not clear to us how this document would have been relevant to the OFAC witness’s testimony.

Jane

From: Heberlig, Brian <BHeberlig@steptoe.com>
Sent: Saturday, March 7, 2020 4:57 PM
To: Lake, Stephanie (USANYS) <SLake@usa.doj.gov>; Weingarten, Reid <RWeingarten@steptoe.com>; Silverman,
Nicholas <nsilverman@steptoe.com>
Cc: Krouse, Michael (USANYS) <MKrouse@usa.doj.gov>; Kim, Jane (USANYS) 4 <JKim4@usa.doj.gov>; Lynch, Garrett
(USANYS) [Contractor] <GLynch@usa.doj.gov>; Milione, Shawn (USANYS) [Contractor] <SMilione@usa.doj.gov>
Subject: RE: U.S. v. Sadr

We request immediate disclosure of (1) where GX411 came from, (2) how long it has been in
the government’s possession, (3) why we are only receiving it today. This is the second
episode—along with GX430, GX431, and GX432—of the government producing fundamentally
exculpatory documents mid‐trial. In this instance, the document was produced after the
government’s OFAC witness, who would have been subject to cross‐examination on this
document. Provide this information by 6 pm or we will see the intervention of the Court.

From: Lake, Stephanie (USANYS) <Stephanie.Lake@usdoj.gov>
Sent: Saturday, March 7, 2020 4:24 PM
To: Weingarten, Reid <RWeingarten@steptoe.com>; Heberlig, Brian <BHeberlig@steptoe.com>; Silverman, Nicholas
<nsilverman@steptoe.com>
Cc: Krouse, Michael (USANYS) <Michael.Krouse@usdoj.gov>; Kim, Jane (USANYS) 4 <Jane.Kim@usdoj.gov>; Lynch,
Garrett (USANYS) [Contractor] <Garrett.Lynch@usdoj.gov>; Milione, Shawn (USANYS) [Contractor]
<Shawn.Milione@usdoj.gov>
Subject: RE: U.S. v. Sadr

Counsel,
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We attempted to send you a number of attachments, which will not go through without encryption. It looks like
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descriptions are below.

Stephanie

From: Lake, Stephanie (USANYS)
Sent: Saturday, March 07, 2020 4:04 PM
To: Weingarten, Reid <RWeingarten@steptoe.com>; Heberlig, Brian <BHeberlig@steptoe.com>; Silverman, Nicholas
<nsilverman@steptoe.com>
Cc: Krouse, Michael (USANYS) <MKrouse@usa.doj.gov>; Kim, Jane (USANYS) 4 <JKim4@usa.doj.gov>; Lynch, Garrett
(USANYS) [Contractor] <GLynch@usa.doj.gov>; Milione, Shawn (USANYS) [Contractor] <SMilione@usa.doj.gov>
Subject: U.S. v. Sadr

Counsel,

Mr. Dubowitz is still very ill. As a result, we do not intend to call him as a witness in our case‐in‐chief. It’s possible that,
depending on the defense case, we will call him as a rebuttal witness.

In addition, we’ve attached the following documents:

    ‐   Updated GX 2284D – there were formatting problems with our version. We think the attached corrects them.
    ‐   3508‐08 – 3500 from today
    ‐   GX 411 – we intend to offer this on Monday. Let us know if you will stipulate to authenticity.
    ‐   GX 456 – we intend to offer this on Monday. Let us know if you will stipulate to authenticity.
    ‐   GX 495A & B – we intend to offer these on Monday (likely in redacted form), although think a stipulation that
        the defendant had bank accounts at HSBC from January 2010 through October 2013 might be simpler. Let us
        know how you prefer to proceed.
    ‐   GX 704 – this is the modified version of the travel chart. Please confirm whether you have any remaining
        concerns.
    ‐   GX 705A & B – these are summary charts reflecting the information in GX 2090A. Please confirm whether you
        have any objections.
    ‐   Updated GX 2304A – we enlarged some of the cells, as the formatting of the PDFd excel file was cutting off some
        of the data. The content is the same.
    ‐   3504‐10 – Peri 3500, which was provided in hard copy yesterday morning.
    ‐   3505‐06 – Blair 3500, which was provided in hard copy yesterday morning.
    ‐   3513‐02 – Paralegal 3500 for summary chart (you may already have this)
    ‐   3513‐03 – Paralegal 3500 for summary chart (you may already have this)

We are still working on one additional summary chart, which we expect to provide later today.

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Southern District of New York
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Kim, Jane (USANYS) 4

From:                              Weingarten, Reid <RWeingarten@steptoe.com>
Sent:                              Saturday, March 7, 2020 5:46 PM
To:                                Kim, Jane (USANYS) 4
Subject:                           Re:



So...thank you...I am about to greet everyone and start drinking a lot of bourbon...all kidding aside, troubled
that we never saw this...nothing is going to happen tonite...let's see what the morrow brings....reid

Sent from my BlackBerry 10 smartphone.
From: Kim, Jane (USANYS) 4
Sent: Saturday, March 7, 2020 5:37 PM
To: Weingarten, Reid
Subject: RE: Re:

Your birthday?! Happy Birthday! Yeah, just responded.

From: Weingarten, Reid <RWeingarten@steptoe.com>
Sent: Saturday, March 7, 2020 5:34 PM
To: Kim, Jane (USANYS) 4 <JKim4@usa.doj.gov>
Subject: Re:

Catching up...(I have a hideous birthday this weekend and my family is gathering from around the world)...I
assume your q is about our reaction to the commerzbank exhibit that just came in...does seem passing strange
we never saw it before...(or did we?)...let's clear that up and then we will figure out where we go with it

Sent from my BlackBerry 10 smartphone.
From: Kim, Jane (USANYS) 4
Sent: Saturday, March 7, 2020 5:21 PM
To: Weingarten, Reid
Subject:

Really, Reid??

Jane Kim
Assistant United States Attorney
Southern District of New York
One St. Andrew’s Plaza
New York, New York 10007
Phone: (212) 637‐2038
Email: jane.kim@usdoj.gov




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Kim, Jane (USANYS) 4

From:                              Weingarten, Reid <RWeingarten@steptoe.com>
Sent:                              Saturday, March 7, 2020 6:15 PM
To:                                Kim, Jane (USANYS) 4
Subject:                           Re:



So one last q...you thought we had it?

Sent from my BlackBerry 10 smartphone.
From: Kim, Jane (USANYS) 4
Sent: Saturday, March 7, 2020 5:37 PM
To: Weingarten, Reid
Subject: RE: Re:

Your birthday?! Happy Birthday! Yeah, just responded.

From: Weingarten, Reid <RWeingarten@steptoe.com>
Sent: Saturday, March 7, 2020 5:34 PM
To: Kim, Jane (USANYS) 4 <JKim4@usa.doj.gov>
Subject: Re:

Catching up...(I have a hideous birthday this weekend and my family is gathering from around the world)...I
assume your q is about our reaction to the commerzbank exhibit that just came in...does seem passing strange
we never saw it before...(or did we?)...let's clear that up and then we will figure out where we go with it

Sent from my BlackBerry 10 smartphone.
From: Kim, Jane (USANYS) 4
Sent: Saturday, March 7, 2020 5:21 PM
To: Weingarten, Reid
Subject:

Really, Reid??

Jane Kim
Assistant United States Attorney
Southern District of New York
One St. Andrew’s Plaza
New York, New York 10007
Phone: (212) 637‐2038
Email: jane.kim@usdoj.gov




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                 EXHIBIT 39
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Kim, Jane (USANYS) 4

From:                              Kim, Jane (USANYS) 4
Sent:                              Saturday, March 7, 2020 7:40 PM
To:                                'Weingarten, Reid'
Subject:                           RE: Re:


Yes – we thought it was produced in discovery as part of the Commerzbank subpoena return.

From: Weingarten, Reid <RWeingarten@steptoe.com>
Sent: Saturday, March 7, 2020 6:15 PM
To: Kim, Jane (USANYS) 4 <JKim4@usa.doj.gov>
Subject: Re:

So one last q...you thought we had it?

Sent from my BlackBerry 10 smartphone.
From: Kim, Jane (USANYS) 4
Sent: Saturday, March 7, 2020 5:37 PM
To: Weingarten, Reid
Subject: RE: Re:

Your birthday?! Happy Birthday! Yeah, just responded.

From: Weingarten, Reid <RWeingarten@steptoe.com>
Sent: Saturday, March 7, 2020 5:34 PM
To: Kim, Jane (USANYS) 4 <JKim4@usa.doj.gov>
Subject: Re:

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assume your q is about our reaction to the commerzbank exhibit that just came in...does seem passing strange
we never saw it before...(or did we?)...let's clear that up and then we will figure out where we go with it

Sent from my BlackBerry 10 smartphone.
From: Kim, Jane (USANYS) 4
Sent: Saturday, March 7, 2020 5:21 PM
To: Weingarten, Reid
Subject:

Really, Reid??

Jane Kim
Assistant United States Attorney
Southern District of New York
One St. Andrew’s Plaza
New York, New York 10007
Phone: (212) 637‐2038
Email: jane.kim@usdoj.gov

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                 EXHIBIT 40
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Kim, Jane (USANYS) 4

From:                             Heberlig, Brian <BHeberlig@steptoe.com>
Sent:                             Saturday, March 7, 2020 10:09 PM
To:                               Kim, Jane (USANYS) 4; Lake, Stephanie (USANYS); Weingarten, Reid; Silverman,
                                  Nicholas
Cc:                               Krouse, Michael (USANYS); Lynch, Garrett (USANYS) [Contractor]; Milione, Shawn
                                  (USANYS) [Contractor]
Subject:                          RE: U.S. v. Sadr



If you have been aware of the letter since mid‐January, why wasn’t it on the government’s
pretrial exhibit list instead of appearing the day before the government rests its case? The
exculpatory nature of the exhibit is self‐evident.

From: Kim, Jane (USANYS) 4 <Jane.Kim@usdoj.gov>
Sent: Saturday, March 7, 2020 5:36 PM
To: Heberlig, Brian <BHeberlig@steptoe.com>; Lake, Stephanie (USANYS) <Stephanie.Lake@usdoj.gov>; Weingarten,
Reid <RWeingarten@steptoe.com>; Silverman, Nicholas <nsilverman@steptoe.com>
Cc: Krouse, Michael (USANYS) <Michael.Krouse@usdoj.gov>; Lynch, Garrett (USANYS) [Contractor]
<Garrett.Lynch@usdoj.gov>; Milione, Shawn (USANYS) [Contractor] <Shawn.Milione@usdoj.gov>
Subject: RE: U.S. v. Sadr

Brian,

We do not agree with your characterization of GX 430, 431, 432, or 411 as Brady. These are all exhibits the Government
has introduced or is seeking to introduce in our case. Perhaps you can explain how it is you think GX 411 is helpful to
your case.

In any event, we have been aware of the letter since mid‐January. We thought it was part of the Commerzbank
subpoena return that was produced in discovery. We now understand that it came from an unrelated DANY
investigation, and therefore was not in the Commerzbank subpoena return.

It is not clear to us how this document would have been relevant to the OFAC witness’s testimony.

Jane

From: Heberlig, Brian <BHeberlig@steptoe.com>
Sent: Saturday, March 7, 2020 4:57 PM
To: Lake, Stephanie (USANYS) <SLake@usa.doj.gov>; Weingarten, Reid <RWeingarten@steptoe.com>; Silverman,
Nicholas <nsilverman@steptoe.com>
Cc: Krouse, Michael (USANYS) <MKrouse@usa.doj.gov>; Kim, Jane (USANYS) 4 <JKim4@usa.doj.gov>; Lynch, Garrett
(USANYS) [Contractor] <GLynch@usa.doj.gov>; Milione, Shawn (USANYS) [Contractor] <SMilione@usa.doj.gov>
Subject: RE: U.S. v. Sadr

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exculpatory documents mid‐trial. In this instance, the document was produced after the
government’s OFAC witness, who would have been subject to cross‐examination on this
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From: Lake, Stephanie (USANYS) <Stephanie.Lake@usdoj.gov>
Sent: Saturday, March 7, 2020 4:24 PM
To: Weingarten, Reid <RWeingarten@steptoe.com>; Heberlig, Brian <BHeberlig@steptoe.com>; Silverman, Nicholas
<nsilverman@steptoe.com>
Cc: Krouse, Michael (USANYS) <Michael.Krouse@usdoj.gov>; Kim, Jane (USANYS) 4 <Jane.Kim@usdoj.gov>; Lynch,
Garrett (USANYS) [Contractor] <Garrett.Lynch@usdoj.gov>; Milione, Shawn (USANYS) [Contractor]
<Shawn.Milione@usdoj.gov>
Subject: RE: U.S. v. Sadr

Counsel,

We attempted to send you a number of attachments, which will not go through without encryption. It looks like
Steptoe’s servers are blocking the encrypted email. Shawn will upload the files to the link he has been using. The
descriptions are below.

Stephanie

From: Lake, Stephanie (USANYS)
Sent: Saturday, March 07, 2020 4:04 PM
To: Weingarten, Reid <RWeingarten@steptoe.com>; Heberlig, Brian <BHeberlig@steptoe.com>; Silverman, Nicholas
<nsilverman@steptoe.com>
Cc: Krouse, Michael (USANYS) <MKrouse@usa.doj.gov>; Kim, Jane (USANYS) 4 <JKim4@usa.doj.gov>; Lynch, Garrett
(USANYS) [Contractor] <GLynch@usa.doj.gov>; Milione, Shawn (USANYS) [Contractor] <SMilione@usa.doj.gov>
Subject: U.S. v. Sadr

Counsel,

Mr. Dubowitz is still very ill. As a result, we do not intend to call him as a witness in our case‐in‐chief. It’s possible that,
depending on the defense case, we will call him as a rebuttal witness.

In addition, we’ve attached the following documents:

    ‐   Updated GX 2284D – there were formatting problems with our version. We think the attached corrects them.
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    ‐   GX 456 – we intend to offer this on Monday. Let us know if you will stipulate to authenticity.
    ‐   GX 495A & B – we intend to offer these on Monday (likely in redacted form), although think a stipulation that
        the defendant had bank accounts at HSBC from January 2010 through October 2013 might be simpler. Let us
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    ‐   GX 704 – this is the modified version of the travel chart. Please confirm whether you have any remaining
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    ‐   Updated GX 2304A – we enlarged some of the cells, as the formatting of the PDFd excel file was cutting off some
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    ‐   3504‐10 – Peri 3500, which was provided in hard copy yesterday morning.
    ‐   3505‐06 – Blair 3500, which was provided in hard copy yesterday morning.
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   ‐   3513‐02 – Paralegal 3500 for summary chart (you may already have this)
   ‐   3513‐03 – Paralegal 3500 for summary chart (you may already have this)

We are still working on one additional summary chart, which we expect to provide later today.

Stephanie Lake
Assistant United States Attorney
Southern District of New York
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New York, NY 10007
Tel: (212) 637‐1066




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                 EXHIBIT 41
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Kim, Jane (USANYS) 4

From:                              Kim, Jane (USANYS) 4
Sent:                              Sunday, March 8, 2020 7:30 AM
To:                                Lake, Stephanie (USANYS); Krouse, Michael (USANYS); LynchG@dany.nyc.gov; Lynch,
                                   Garrett (USANYS) [Contractor]
Subject:                           Proposed email to Brian


Brian,

As I explained in my last email, when we first saw the document in mid‐January, we thought it had been part of
Commerzbank’s subpoena return and had been produced. Then, as we were marking exhibits and re‐pulling all of the
email exhibits up until 6 days before trial—because you objected to us pulling clean and authentic versions of all of the
email evidence earlier—we didn’t mark this document because it wasn’t in our subpoena returns folder. Because of
your cross of Peri on Friday, we looked for the document and realized late Friday night that it had not been marked or a
part of the bank’s subpoena return. Again, we don’t see this document as exculpatory, as we would like to offer it
tomorrow.




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                 EXHIBIT 42
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Kim, Jane (USANYS) 4

From:                              Lake, Stephanie (USANYS)
Sent:                              Sunday, March 8, 2020 7:55 AM
To:                                Kim, Jane (USANYS) 4
Cc:                                Krouse, Michael (USANYS); LynchG@dany.nyc.gov; Lynch, Garrett (USANYS)
                                   [Contractor]
Subject:                           Re: Proposed email to Brian


Thank you for doing this. I think it’s fair to say that we didn’t think it was necessary to use when we saw it in January
given our other evidence, assumed it was part of the Commerz subpoena return, and then never discussed it again. But
we stumbled upon it this weekend and decided it would be useful given some of the arguments he made on Friday.

> On Mar 8, 2020, at 7:30 AM, Kim, Jane (USANYS) 4 <JKim4@usa.doj.gov> wrote:
>
> Brian,
>
> As I explained in my last email, when we first saw the document in mid‐January, we thought it had been part of
Commerzbank’s subpoena return and had been produced. Then, as we were marking exhibits and re‐pulling all of the
email exhibits up until 6 days before trial—because you objected to us pulling clean and authentic versions of all of the
email evidence earlier—we didn’t mark this document because it wasn’t in our subpoena re. Because of your cross of
Peri on Friday, we looked for the document and realized late Friday night that it had not been marked or a part of the
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                 EXHIBIT 43
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Kim, Jane (USANYS) 4

From:                           Kim, Jane (USANYS) 4
Sent:                           Sunday, March 8, 2020 9:32 AM
To:                             Lake, Stephanie (USANYS); Lynch, Garrett (USANYS) [Contractor]; Krouse, Michael
                                (USANYS)
Subject:                        FW: Proposed email to Brian


How's this?

###

Brian,

As I explained in my last email, when we first saw the document in mid‐January, we thought it had been part of
Commerzbank’s subpoena return and had been produced. We didn't think it would be necessary to use given our other
evidence about that payment. Given some of the arguments you made on Friday, we pulled the document and realized
late Friday night that it hadn't been marked or part of the bank's subpoena return.
Again, we don’t see this document as exculpatory, as we would like to offer it tomorrow.




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                 EXHIBIT 44
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Kim, Jane (USANYS) 4

From:                            Lake, Stephanie (USANYS)
Sent:                            Sunday, March 8, 2020 9:37 AM
To:                              Kim, Jane (USANYS) 4; Lynch, Garrett (USANYS) [Contractor]; Krouse, Michael (USANYS)
Subject:                         RE: Proposed email to Brian


Few proposed tweaks below. Thank you for doing this. I'm a wimp.

‐‐‐‐‐Original Message‐‐‐‐‐
From: Kim, Jane (USANYS) 4 <JKim4@usa.doj.gov>
Sent: Sunday, March 08, 2020 9:32 AM
To: Lake, Stephanie (USANYS) <SLake@usa.doj.gov>; Lynch, Garrett (USANYS) [Contractor] <GLynch@usa.doj.gov>;
Krouse, Michael (USANYS) <MKrouse@usa.doj.gov>
Subject: FW: Proposed email to Brian

How's this?

###

Brian,

As I explained in my last email, when we first saw the document in mid‐January, we thought it had been part of
Commerzbank’s subpoena return and had been produced. We didn't think it would be necessary to use given our other
evidence about that payment. Given some of the arguments you made on Friday, we decided that we did want to
introduce it at trial.
Again, we don’t see this document as exculpatory, as we would like to offer it tomorrow. Can you let us know your
position on an authenticity stipulation for this document and the other bank records we sent yesterday, as well as
whether you have any issues with the summary charts?




                                                         1
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                 EXHIBIT 45
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Kim, Jane (USANYS) 4

From:                            Kim, Jane (USANYS) 4
Sent:                            Sunday, March 8, 2020 9:38 AM
To:                              Lake, Stephanie (USANYS); Lynch, Garrett (USANYS) [Contractor]; Krouse, Michael
                                 (USANYS)
Subject:                         RE: Proposed email to Brian


Will send now. Thanks!

‐‐‐‐‐Original Message‐‐‐‐‐
From: Lake, Stephanie (USANYS) <SLake@usa.doj.gov>
Sent: Sunday, March 8, 2020 9:37 AM
To: Kim, Jane (USANYS) 4 <JKim4@usa.doj.gov>; Lynch, Garrett (USANYS) [Contractor] <GLynch@usa.doj.gov>; Krouse,
Michael (USANYS) <MKrouse@usa.doj.gov>
Subject: RE: Proposed email to Brian

Few proposed tweaks below. Thank you for doing this. I'm a wimp.

‐‐‐‐‐Original Message‐‐‐‐‐
From: Kim, Jane (USANYS) 4 <JKim4@usa.doj.gov>
Sent: Sunday, March 08, 2020 9:32 AM
To: Lake, Stephanie (USANYS) <SLake@usa.doj.gov>; Lynch, Garrett (USANYS) [Contractor] <GLynch@usa.doj.gov>;
Krouse, Michael (USANYS) <MKrouse@usa.doj.gov>
Subject: FW: Proposed email to Brian

How's this?

###

Brian,

As I explained in my last email, when we first saw the document in mid‐January, we thought it had been part of
Commerzbank’s subpoena return and had been produced. We didn't think it would be necessary to use given our other
evidence about that payment. Given some of the arguments you made on Friday, we decided that we did want to
introduce it at trial.
Again, we don’t see this document as exculpatory, as we would like to offer it tomorrow. Can you let us know your
position on an authenticity stipulation for this document and the other bank records we sent yesterday, as well as
whether you have any issues with the summary charts?




                                                          1
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                 EXHIBIT 46
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Kim, Jane (USANYS) 4

From:                             Kim, Jane (USANYS) 4
Sent:                             Sunday, March 8, 2020 9:41 AM
To:                               'Heberlig, Brian'; Lake, Stephanie (USANYS); Weingarten, Reid; Silverman, Nicholas
Cc:                               Krouse, Michael (USANYS); Lynch, Garrett (USANYS) [Contractor]; Milione, Shawn
                                  (USANYS) [Contractor]
Subject:                          RE: U.S. v. Sadr


Brian, Reid, and Nick:

As I explained in my last email, when we first saw the document in mid‐January, we thought it had been part of
Commerzbank’s subpoena return and had been produced. We didn't think it would be necessary to use given our other
evidence about that payment. Given some of the arguments you made on Friday, we decided that we did want to
introduce it at trial.

Again, we don’t see this document as exculpatory, as we would like to offer it tomorrow. Can you please let us know
your position on an authenticity stipulation for this document and the other bank records we sent yesterday, as well as
whether you have any issues with the summary charts?

Thanks,
Jane

From: Heberlig, Brian <BHeberlig@steptoe.com>
Sent: Saturday, March 7, 2020 10:09 PM
To: Kim, Jane (USANYS) 4 <JKim4@usa.doj.gov>; Lake, Stephanie (USANYS) <SLake@usa.doj.gov>; Weingarten, Reid
<RWeingarten@steptoe.com>; Silverman, Nicholas <nsilverman@steptoe.com>
Cc: Krouse, Michael (USANYS) <MKrouse@usa.doj.gov>; Lynch, Garrett (USANYS) [Contractor] <GLynch@usa.doj.gov>;
Milione, Shawn (USANYS) [Contractor] <SMilione@usa.doj.gov>
Subject: RE: U.S. v. Sadr

If you have been aware of the letter since mid‐January, why wasn’t it on the government’s
pretrial exhibit list instead of appearing the day before the government rests its case? The
exculpatory nature of the exhibit is self‐evident.

From: Kim, Jane (USANYS) 4 <Jane.Kim@usdoj.gov>
Sent: Saturday, March 7, 2020 5:36 PM
To: Heberlig, Brian <BHeberlig@steptoe.com>; Lake, Stephanie (USANYS) <Stephanie.Lake@usdoj.gov>; Weingarten,
Reid <RWeingarten@steptoe.com>; Silverman, Nicholas <nsilverman@steptoe.com>
Cc: Krouse, Michael (USANYS) <Michael.Krouse@usdoj.gov>; Lynch, Garrett (USANYS) [Contractor]
<Garrett.Lynch@usdoj.gov>; Milione, Shawn (USANYS) [Contractor] <Shawn.Milione@usdoj.gov>
Subject: RE: U.S. v. Sadr

Brian,

We do not agree with your characterization of GX 430, 431, 432, or 411 as Brady. These are all exhibits the Government
has introduced or is seeking to introduce in our case. Perhaps you can explain how it is you think GX 411 is helpful to
your case.

                                                           1
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In any event, we have been aware of the letter since mid‐January. We thought it was part of the Commerzbank
subpoena return that was produced in discovery. We now understand that it came from an unrelated DANY
investigation, and therefore was not in the Commerzbank subpoena return.

It is not clear to us how this document would have been relevant to the OFAC witness’s testimony.

Jane

From: Heberlig, Brian <BHeberlig@steptoe.com>
Sent: Saturday, March 7, 2020 4:57 PM
To: Lake, Stephanie (USANYS) <SLake@usa.doj.gov>; Weingarten, Reid <RWeingarten@steptoe.com>; Silverman,
Nicholas <nsilverman@steptoe.com>
Cc: Krouse, Michael (USANYS) <MKrouse@usa.doj.gov>; Kim, Jane (USANYS) 4 <JKim4@usa.doj.gov>; Lynch, Garrett
(USANYS) [Contractor] <GLynch@usa.doj.gov>; Milione, Shawn (USANYS) [Contractor] <SMilione@usa.doj.gov>
Subject: RE: U.S. v. Sadr

We request immediate disclosure of (1) where GX411 came from, (2) how long it has been in
the government’s possession, (3) why we are only receiving it today. This is the second
episode—along with GX430, GX431, and GX432—of the government producing fundamentally
exculpatory documents mid‐trial. In this instance, the document was produced after the
government’s OFAC witness, who would have been subject to cross‐examination on this
document. Provide this information by 6 pm or we will see the intervention of the Court.

From: Lake, Stephanie (USANYS) <Stephanie.Lake@usdoj.gov>
Sent: Saturday, March 7, 2020 4:24 PM
To: Weingarten, Reid <RWeingarten@steptoe.com>; Heberlig, Brian <BHeberlig@steptoe.com>; Silverman, Nicholas
<nsilverman@steptoe.com>
Cc: Krouse, Michael (USANYS) <Michael.Krouse@usdoj.gov>; Kim, Jane (USANYS) 4 <Jane.Kim@usdoj.gov>; Lynch,
Garrett (USANYS) [Contractor] <Garrett.Lynch@usdoj.gov>; Milione, Shawn (USANYS) [Contractor]
<Shawn.Milione@usdoj.gov>
Subject: RE: U.S. v. Sadr

Counsel,

We attempted to send you a number of attachments, which will not go through without encryption. It looks like
Steptoe’s servers are blocking the encrypted email. Shawn will upload the files to the link he has been using. The
descriptions are below.

Stephanie

From: Lake, Stephanie (USANYS)
Sent: Saturday, March 07, 2020 4:04 PM
To: Weingarten, Reid <RWeingarten@steptoe.com>; Heberlig, Brian <BHeberlig@steptoe.com>; Silverman, Nicholas
<nsilverman@steptoe.com>
Cc: Krouse, Michael (USANYS) <MKrouse@usa.doj.gov>; Kim, Jane (USANYS) 4 <JKim4@usa.doj.gov>; Lynch, Garrett
(USANYS) [Contractor] <GLynch@usa.doj.gov>; Milione, Shawn (USANYS) [Contractor] <SMilione@usa.doj.gov>
Subject: U.S. v. Sadr

Counsel,

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Mr. Dubowitz is still very ill. As a result, we do not intend to call him as a witness in our case‐in‐chief. It’s possible that,
depending on the defense case, we will call him as a rebuttal witness.

In addition, we’ve attached the following documents:

    ‐   Updated GX 2284D – there were formatting problems with our version. We think the attached corrects them.
    ‐   3508‐08 – 3500 from today
    ‐   GX 411 – we intend to offer this on Monday. Let us know if you will stipulate to authenticity.
    ‐   GX 456 – we intend to offer this on Monday. Let us know if you will stipulate to authenticity.
    ‐   GX 495A & B – we intend to offer these on Monday (likely in redacted form), although think a stipulation that
        the defendant had bank accounts at HSBC from January 2010 through October 2013 might be simpler. Let us
        know how you prefer to proceed.
    ‐   GX 704 – this is the modified version of the travel chart. Please confirm whether you have any remaining
        concerns.
    ‐   GX 705A & B – these are summary charts reflecting the information in GX 2090A. Please confirm whether you
        have any objections.
    ‐   Updated GX 2304A – we enlarged some of the cells, as the formatting of the PDFd excel file was cutting off some
        of the data. The content is the same.
    ‐   3504‐10 – Peri 3500, which was provided in hard copy yesterday morning.
    ‐   3505‐06 – Blair 3500, which was provided in hard copy yesterday morning.
    ‐   3513‐02 – Paralegal 3500 for summary chart (you may already have this)
    ‐   3513‐03 – Paralegal 3500 for summary chart (you may already have this)

We are still working on one additional summary chart, which we expect to provide later today.

Stephanie Lake
Assistant United States Attorney
Southern District of New York
One Saint Andrew’s Plaza
New York, NY 10007
Tel: (212) 637‐1066




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Kim, Jane (USANYS) 4

From:                                       Lake, Stephanie (USANYS)
Sent:                                       Sunday, March 8, 2020 12:16 PM
To:                                         Kim, Jane (USANYS) 4; Krouse, Michael (USANYS); Lynch, Garrett (USANYS) [Contractor]
Subject:                                    FW: GX 411 - Response Requested by 2:00 p.m. or Earlier


Wtf.

From: Silverman, Nicholas <nsilverman@steptoe.com>
Sent: Sunday, March 08, 2020 12:15 PM
To: Kim, Jane (USANYS) 4 <JKim4@usa.doj.gov>; Krouse, Michael (USANYS) <MKrouse@usa.doj.gov>; Lake, Stephanie
(USANYS) <SLake@usa.doj.gov>; 'Garrett Lynch' <LynchG@dany.nyc.gov>
Cc: Bishop, Bruce <BBishop@steptoe.com>; Fragale, David <DFragale@steptoe.com>; Heberlig, Brian
<BHeberlig@steptoe.com>; Weingarten, Reid <RWeingarten@steptoe.com>
Subject: GX 411 ‐ Response Requested by 2:00 p.m. or Earlier

Counsel:

We intend to request the following curative instruction from the Court. Please inform us by 2:00 p.m. (or
earlier) whether you consent to the instruction:

          Government Exhibit 411 is a June 2011 letter regarding an April 2011 transaction involving Stratus
          International Contracting Company. You saw that evidence this morning instead of earlier in trial
          because the government failed to turn it over before trial as required by law. The defendant learned of
          that evidence on Saturday afternoon when the government disclosed it.



Nicholas P. Silverman
Associate
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Kim, Jane (USANYS) 4

From:                                    Krouse, Michael (USANYS)
Sent:                                    Sunday, March 8, 2020 12:24 PM
To:                                      Lake, Stephanie (USANYS)
Cc:                                      Kim, Jane (USANYS) 4; Lynch, Garrett (USANYS) [Contractor]
Subject:                                 Re: GX 411 - Response Requested by 2:00 p.m. or Earlier


Yeah, we do not consent.

Sent from my iPhone

On Mar 8, 2020, at 12:16 PM, Lake, Stephanie (USANYS) <SLake@usa.doj.gov> wrote:

       Wtf.

       From: Silverman, Nicholas <nsilverman@steptoe.com>
       Sent: Sunday, March 08, 2020 12:15 PM
       To: Kim, Jane (USANYS) 4 <JKim4@usa.doj.gov>; Krouse, Michael (USANYS) <MKrouse@usa.doj.gov>;
       Lake, Stephanie (USANYS) <SLake@usa.doj.gov>; 'Garrett Lynch' <LynchG@dany.nyc.gov>
       Cc: Bishop, Bruce <BBishop@steptoe.com>; Fragale, David <DFragale@steptoe.com>; Heberlig, Brian
       <BHeberlig@steptoe.com>; Weingarten, Reid <RWeingarten@steptoe.com>
       Subject: GX 411 ‐ Response Requested by 2:00 p.m. or Earlier

       Counsel:

       We intend to request the following curative instruction from the Court. Please inform us by 2:00
       p.m. (or earlier) whether you consent to the instruction:

                 Government Exhibit 411 is a June 2011 letter regarding an April 2011 transaction
                 involving Stratus International Contracting Company. You saw that evidence this
                 morning instead of earlier in trial because the government failed to turn it over before
                 trial as required by law. The defendant learned of that evidence on Saturday afternoon
                 when the government disclosed it.



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       Associate
       nsilverman@steptoe.com


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Kim, Jane (USANYS) 4

From:                             Krouse, Michael (USANYS)
Sent:                             Sunday, March 8, 2020 12:49 PM
To:                               Lake, Stephanie (USANYS)
Cc:                               Kim, Jane (USANYS) 4; Lynch, Garrett (USANYS) [Contractor]
Subject:                          Re: GX 411 - Response Requested by 2:00 p.m. or Earlier


What do you think about proposing a phone call on this and the defense witnesses?

Sent from my iPhone

On Mar 8, 2020, at 12:23 PM, Krouse, Michael (USANYS) <MKrouse@usa.doj.gov> wrote:

       Yeah, we do not consent.

       Sent from my iPhone

       On Mar 8, 2020, at 12:16 PM, Lake, Stephanie (USANYS) <SLake@usa.doj.gov> wrote:

               Wtf.

               From: Silverman, Nicholas <nsilverman@steptoe.com>
               Sent: Sunday, March 08, 2020 12:15 PM
               To: Kim, Jane (USANYS) 4 <JKim4@usa.doj.gov>; Krouse, Michael (USANYS)
               <MKrouse@usa.doj.gov>; Lake, Stephanie (USANYS) <SLake@usa.doj.gov>; 'Garrett
               Lynch' <LynchG@dany.nyc.gov>
               Cc: Bishop, Bruce <BBishop@steptoe.com>; Fragale, David <DFragale@steptoe.com>;
               Heberlig, Brian <BHeberlig@steptoe.com>; Weingarten, Reid
               <RWeingarten@steptoe.com>
               Subject: GX 411 ‐ Response Requested by 2:00 p.m. or Earlier

               Counsel:

               We intend to request the following curative instruction from the Court. Please
               inform us by 2:00 p.m. (or earlier) whether you consent to the instruction:

                       Government Exhibit 411 is a June 2011 letter regarding an April 2011
                       transaction involving Stratus International Contracting Company. You
                       saw that evidence this morning instead of earlier in trial because the
                       government failed to turn it over before trial as required by law. The
                       defendant learned of that evidence on Saturday afternoon when the
                       government disclosed it.



               Nicholas P. Silverman
               Associate
               nsilverman@steptoe.com


               Steptoe
                                                          1
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                  EXHIBIT 50
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Kim, Jane (USANYS) 4

From:                                 Lake, Stephanie (USANYS)
Sent:                                 Sunday, March 8, 2020 12:53 PM
To:                                   Krouse, Michael (USANYS)
Cc:                                   Kim, Jane (USANYS) 4; Lynch, Garrett (USANYS) [Contractor]
Subject:                              Re: GX 411 - Response Requested by 2:00 p.m. or Earlier


That’s fine, although I feel like it’ll just be a scream fest.



         On Mar 8, 2020, at 12:48 PM, Krouse, Michael (USANYS) <MKrouse@usa.doj.gov> wrote:

           What do you think about proposing a phone call on this and the defense witnesses?

         Sent from my iPhone

         On Mar 8, 2020, at 12:23 PM, Krouse, Michael (USANYS) <MKrouse@usa.doj.gov> wrote:

                  Yeah, we do not consent.

                  Sent from my iPhone

                  On Mar 8, 2020, at 12:16 PM, Lake, Stephanie (USANYS) <SLake@usa.doj.gov> wrote:

                           Wtf.

                           From: Silverman, Nicholas <nsilverman@steptoe.com>
                           Sent: Sunday, March 08, 2020 12:15 PM
                           To: Kim, Jane (USANYS) 4 <JKim4@usa.doj.gov>; Krouse, Michael
                           (USANYS) <MKrouse@usa.doj.gov>; Lake, Stephanie (USANYS)
                           <SLake@usa.doj.gov>; 'Garrett Lynch' <LynchG@dany.nyc.gov>
                           Cc: Bishop, Bruce <BBishop@steptoe.com>; Fragale, David
                           <DFragale@steptoe.com>; Heberlig, Brian <BHeberlig@steptoe.com>;
                           Weingarten, Reid <RWeingarten@steptoe.com>
                           Subject: GX 411 ‐ Response Requested by 2:00 p.m. or Earlier

                           Counsel:

                           We intend to request the following curative instruction from the
                           Court. Please inform us by 2:00 p.m. (or earlier) whether you
                           consent to the instruction:

                                    Government Exhibit 411 is a June 2011 letter regarding an
                                    April 2011 transaction involving Stratus International
                                    Contracting Company. You saw that evidence this
                                    morning instead of earlier in trial because the government
                                    failed to turn it over before trial as required by law. The
                                    defendant learned of that evidence on Saturday afternoon
                                    when the government disclosed it.
                                                                 1
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                  EXHIBIT 51
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Kim, Jane (USANYS) 4

From:                                 Kim, Jane (USANYS) 4
Sent:                                 Sunday, March 8, 2020 1:11 PM
To:                                   Lake, Stephanie (USANYS); Krouse, Michael (USANYS)
Cc:                                   Lynch, Garrett (USANYS) [Contractor]
Subject:                              RE: GX 411 - Response Requested by 2:00 p.m. or Earlier


It’ll just be a screamfest. Unless there’s specific information you think we’ll get.

From: Lake, Stephanie (USANYS) <SLake@usa.doj.gov>
Sent: Sunday, March 8, 2020 12:53 PM
To: Krouse, Michael (USANYS) <MKrouse@usa.doj.gov>
Cc: Kim, Jane (USANYS) 4 <JKim4@usa.doj.gov>; Lynch, Garrett (USANYS) [Contractor] <GLynch@usa.doj.gov>
Subject: Re: GX 411 ‐ Response Requested by 2:00 p.m. or Earlier

That’s fine, although I feel like it’ll just be a scream fest.


         On Mar 8, 2020, at 12:48 PM, Krouse, Michael (USANYS) <MKrouse@usa.doj.gov> wrote:

           What do you think about proposing a phone call on this and the defense witnesses?

         Sent from my iPhone

         On Mar 8, 2020, at 12:23 PM, Krouse, Michael (USANYS) <MKrouse@usa.doj.gov> wrote:

                  Yeah, we do not consent.

                  Sent from my iPhone

                  On Mar 8, 2020, at 12:16 PM, Lake, Stephanie (USANYS) <SLake@usa.doj.gov> wrote:

                           Wtf.

                           From: Silverman, Nicholas <nsilverman@steptoe.com>
                           Sent: Sunday, March 08, 2020 12:15 PM
                           To: Kim, Jane (USANYS) 4 <JKim4@usa.doj.gov>; Krouse, Michael
                           (USANYS) <MKrouse@usa.doj.gov>; Lake, Stephanie (USANYS)
                           <SLake@usa.doj.gov>; 'Garrett Lynch' <LynchG@dany.nyc.gov>
                           Cc: Bishop, Bruce <BBishop@steptoe.com>; Fragale, David
                           <DFragale@steptoe.com>; Heberlig, Brian <BHeberlig@steptoe.com>;
                           Weingarten, Reid <RWeingarten@steptoe.com>
                           Subject: GX 411 ‐ Response Requested by 2:00 p.m. or Earlier

                           Counsel:

                           We intend to request the following curative instruction from the
                           Court. Please inform us by 2:00 p.m. (or earlier) whether you
                           consent to the instruction:
                                                                 1
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                 Government Exhibit 411 is a June 2011 letter regarding an
                 April 2011 transaction involving Stratus International
                 Contracting Company. You saw that evidence this
                 morning instead of earlier in trial because the government
                 failed to turn it over before trial as required by law. The
                 defendant learned of that evidence on Saturday afternoon
                 when the government disclosed it.



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                  EXHIBIT 52
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Kim, Jane (USANYS) 4

From:                                Krouse, Michael (USANYS)
Sent:                                Sunday, March 8, 2020 1:16 PM
To:                                  Kim, Jane (USANYS) 4
Cc:                                  Lake, Stephanie (USANYS); Lynch, Garrett (USANYS) [Contractor]
Subject:                             Re: GX 411 - Response Requested by 2:00 p.m. or Earlier


I think it’s worth a try to avoid having this be a big blowout in court. I’m happy to speak. On the train now.

Sent from my iPhone

On Mar 8, 2020, at 1:11 PM, Kim, Jane (USANYS) 4 <JKim4@usa.doj.gov> wrote:

        It’ll just be a screamfest. Unless there’s specific information you think we’ll get.

        From: Lake, Stephanie (USANYS) <SLake@usa.doj.gov>
        Sent: Sunday, March 8, 2020 12:53 PM
        To: Krouse, Michael (USANYS) <MKrouse@usa.doj.gov>
        Cc: Kim, Jane (USANYS) 4 <JKim4@usa.doj.gov>; Lynch, Garrett (USANYS) [Contractor]
        <GLynch@usa.doj.gov>
        Subject: Re: GX 411 ‐ Response Requested by 2:00 p.m. or Earlier

        That’s fine, although I feel like it’ll just be a scream fest.




                 On Mar 8, 2020, at 12:48 PM, Krouse, Michael (USANYS) <MKrouse@usa.doj.gov>
                 wrote:

                 What do you think about proposing a phone call on this and the defense witnesses?

                 Sent from my iPhone

                 On Mar 8, 2020, at 12:23 PM, Krouse, Michael (USANYS) <MKrouse@usa.doj.gov>
                 wrote:

                          Yeah, we do not consent.

                          Sent from my iPhone

                          On Mar 8, 2020, at 12:16 PM, Lake, Stephanie (USANYS)
                          <SLake@usa.doj.gov> wrote:

                                   Wtf.

                                   From: Silverman, Nicholas <nsilverman@steptoe.com>
                                   Sent: Sunday, March 08, 2020 12:15 PM
                                   To: Kim, Jane (USANYS) 4 <JKim4@usa.doj.gov>; Krouse,
                                   Michael (USANYS) <MKrouse@usa.doj.gov>; Lake,
                                                                 1
Case 1:18-cr-00224-AJN Document 403-8 Filed 02/22/21 Page 109 of 174

             Stephanie (USANYS) <SLake@usa.doj.gov>; 'Garrett
             Lynch' <LynchG@dany.nyc.gov>
             Cc: Bishop, Bruce <BBishop@steptoe.com>; Fragale,
             David <DFragale@steptoe.com>; Heberlig, Brian
             <BHeberlig@steptoe.com>; Weingarten, Reid
             <RWeingarten@steptoe.com>
             Subject: GX 411 ‐ Response Requested by 2:00 p.m. or
             Earlier

             Counsel:

             We intend to request the following curative
             instruction from the Court. Please inform us by
             2:00 p.m. (or earlier) whether you consent to the
             instruction:

                       Government Exhibit 411 is a June 2011
                       letter regarding an April 2011 transaction
                       involving Stratus International Contracting
                       Company. You saw that evidence this
                       morning instead of earlier in trial because
                       the government failed to turn it over before
                       trial as required by law. The defendant
                       learned of that evidence on Saturday
                       afternoon when the government disclosed it.



             Nicholas P. Silverman
             Associate
             nsilverman@steptoe.com


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             +1 617 595 6559 mobile          1330 Connecticut Avenue, NW
             +1 202 429 3902 fax             Washington, DC 20036
                                             www.steptoe.com


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                  EXHIBIT 53
              Case 1:18-cr-00224-AJN Document 403-8 Filed 02/22/21 Page 111 of 174


Kim, Jane (USANYS) 4

From:                                Lake, Stephanie (USANYS)
Sent:                                Sunday, March 8, 2020 1:16 PM
To:                                  Kim, Jane (USANYS) 4
Cc:                                  Krouse, Michael (USANYS); Lynch, Garrett (USANYS) [Contractor]
Subject:                             Re: GX 411 - Response Requested by 2:00 p.m. or Earlier


I talked to Emil. Are you guys here / can we gather?



        On Mar 8, 2020, at 1:11 PM, Kim, Jane (USANYS) 4 <JKim4@usa.doj.gov> wrote:


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        Sent: Sunday, March 8, 2020 12:53 PM
        To: Krouse, Michael (USANYS) <MKrouse@usa.doj.gov>
        Cc: Kim, Jane (USANYS) 4 <JKim4@usa.doj.gov>; Lynch, Garrett (USANYS) [Contractor]
        <GLynch@usa.doj.gov>
        Subject: Re: GX 411 ‐ Response Requested by 2:00 p.m. or Earlier

        That’s fine, although I feel like it’ll just be a scream fest.




                 On Mar 8, 2020, at 12:48 PM, Krouse, Michael (USANYS) <MKrouse@usa.doj.gov>
                 wrote:

                 What do you think about proposing a phone call on this and the defense witnesses?

                 Sent from my iPhone

                 On Mar 8, 2020, at 12:23 PM, Krouse, Michael (USANYS) <MKrouse@usa.doj.gov>
                 wrote:

                          Yeah, we do not consent.

                          Sent from my iPhone

                          On Mar 8, 2020, at 12:16 PM, Lake, Stephanie (USANYS)
                          <SLake@usa.doj.gov> wrote:

                                   Wtf.

                                   From: Silverman, Nicholas <nsilverman@steptoe.com>
                                   Sent: Sunday, March 08, 2020 12:15 PM
                                   To: Kim, Jane (USANYS) 4 <JKim4@usa.doj.gov>; Krouse,
                                   Michael (USANYS) <MKrouse@usa.doj.gov>; Lake,
                                                                 1
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             Stephanie (USANYS) <SLake@usa.doj.gov>; 'Garrett
             Lynch' <LynchG@dany.nyc.gov>
             Cc: Bishop, Bruce <BBishop@steptoe.com>; Fragale,
             David <DFragale@steptoe.com>; Heberlig, Brian
             <BHeberlig@steptoe.com>; Weingarten, Reid
             <RWeingarten@steptoe.com>
             Subject: GX 411 ‐ Response Requested by 2:00 p.m. or
             Earlier

             Counsel:

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                       the government failed to turn it over before
                       trial as required by law. The defendant
                       learned of that evidence on Saturday
                       afternoon when the government disclosed it.



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                  EXHIBIT 54
              Case 1:18-cr-00224-AJN Document 403-8 Filed 02/22/21 Page 114 of 174


Kim, Jane (USANYS) 4

From:                                Lynch, Garrett (USANYS) [Contractor]
Sent:                                Sunday, March 8, 2020 1:18 PM
To:                                  Lake, Stephanie (USANYS); Kim, Jane (USANYS) 4
Cc:                                  Krouse, Michael (USANYS)
Subject:                             RE: GX 411 - Response Requested by 2:00 p.m. or Earlier


In my office. Grab me whenever.

From: Lake, Stephanie (USANYS) <SLake@usa.doj.gov>
Sent: Sunday, March 8, 2020 1:16 PM
To: Kim, Jane (USANYS) 4 <JKim4@usa.doj.gov>
Cc: Krouse, Michael (USANYS) <MKrouse@usa.doj.gov>; Lynch, Garrett (USANYS) [Contractor] <GLynch@usa.doj.gov>
Subject: Re: GX 411 ‐ Response Requested by 2:00 p.m. or Earlier

I talked to Emil. Are you guys here / can we gather?


        On Mar 8, 2020, at 1:11 PM, Kim, Jane (USANYS) 4 <JKim4@usa.doj.gov> wrote:


        It’ll just be a screamfest. Unless there’s specific information you think we’ll get.

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        Sent: Sunday, March 8, 2020 12:53 PM
        To: Krouse, Michael (USANYS) <MKrouse@usa.doj.gov>
        Cc: Kim, Jane (USANYS) 4 <JKim4@usa.doj.gov>; Lynch, Garrett (USANYS) [Contractor]
        <GLynch@usa.doj.gov>
        Subject: Re: GX 411 ‐ Response Requested by 2:00 p.m. or Earlier

        That’s fine, although I feel like it’ll just be a scream fest.



                 On Mar 8, 2020, at 12:48 PM, Krouse, Michael (USANYS) <MKrouse@usa.doj.gov>
                 wrote:

                 What do you think about proposing a phone call on this and the defense witnesses?

                 Sent from my iPhone

                 On Mar 8, 2020, at 12:23 PM, Krouse, Michael (USANYS) <MKrouse@usa.doj.gov>
                 wrote:

                          Yeah, we do not consent.

                          Sent from my iPhone



                                                                 1
Case 1:18-cr-00224-AJN Document 403-8 Filed 02/22/21 Page 115 of 174


       On Mar 8, 2020, at 12:16 PM, Lake, Stephanie (USANYS)
       <SLake@usa.doj.gov> wrote:

              Wtf.

              From: Silverman, Nicholas <nsilverman@steptoe.com>
              Sent: Sunday, March 08, 2020 12:15 PM
              To: Kim, Jane (USANYS) 4 <JKim4@usa.doj.gov>; Krouse,
              Michael (USANYS) <MKrouse@usa.doj.gov>; Lake,
              Stephanie (USANYS) <SLake@usa.doj.gov>; 'Garrett
              Lynch' <LynchG@dany.nyc.gov>
              Cc: Bishop, Bruce <BBishop@steptoe.com>; Fragale,
              David <DFragale@steptoe.com>; Heberlig, Brian
              <BHeberlig@steptoe.com>; Weingarten, Reid
              <RWeingarten@steptoe.com>
              Subject: GX 411 ‐ Response Requested by 2:00 p.m. or
              Earlier

              Counsel:

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              instruction from the Court. Please inform us by
              2:00 p.m. (or earlier) whether you consent to the
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                        letter regarding an April 2011 transaction
                        involving Stratus International Contracting
                        Company. You saw that evidence this
                        morning instead of earlier in trial because
                        the government failed to turn it over before
                        trial as required by law. The defendant
                        learned of that evidence on Saturday
                        afternoon when the government disclosed it.



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                                              www.steptoe.com


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             transmission in error, please notify the sender immediately by reply e-
             mail and then delete this message.




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                  EXHIBIT 55
              Case 1:18-cr-00224-AJN Document 403-8 Filed 02/22/21 Page 118 of 174


Kim, Jane (USANYS) 4

From:                                Lynch, Garrett (USANYS) [Contractor]
Sent:                                Sunday, March 8, 2020 1:18 PM
To:                                  Krouse, Michael (USANYS); Kim, Jane (USANYS) 4
Cc:                                  Lake, Stephanie (USANYS)
Subject:                             RE: GX 411 - Response Requested by 2:00 p.m. or Earlier


There will be a blowup either way. I had a perfectly civil conversation with Heberlig about GX 432 on the phone the
night before. Then he went bananas in court.

From: Krouse, Michael (USANYS) <MKrouse@usa.doj.gov>
Sent: Sunday, March 8, 2020 1:16 PM
To: Kim, Jane (USANYS) 4 <JKim4@usa.doj.gov>
Cc: Lake, Stephanie (USANYS) <SLake@usa.doj.gov>; Lynch, Garrett (USANYS) [Contractor] <GLynch@usa.doj.gov>
Subject: Re: GX 411 ‐ Response Requested by 2:00 p.m. or Earlier

I think it’s worth a try to avoid having this be a big blowout in court. I’m happy to speak. On the train now.

Sent from my iPhone

On Mar 8, 2020, at 1:11 PM, Kim, Jane (USANYS) 4 <JKim4@usa.doj.gov> wrote:

        It’ll just be a screamfest. Unless there’s specific information you think we’ll get.

        From: Lake, Stephanie (USANYS) <SLake@usa.doj.gov>
        Sent: Sunday, March 8, 2020 12:53 PM
        To: Krouse, Michael (USANYS) <MKrouse@usa.doj.gov>
        Cc: Kim, Jane (USANYS) 4 <JKim4@usa.doj.gov>; Lynch, Garrett (USANYS) [Contractor]
        <GLynch@usa.doj.gov>
        Subject: Re: GX 411 ‐ Response Requested by 2:00 p.m. or Earlier

        That’s fine, although I feel like it’ll just be a scream fest.



                 On Mar 8, 2020, at 12:48 PM, Krouse, Michael (USANYS) <MKrouse@usa.doj.gov>
                 wrote:

                 What do you think about proposing a phone call on this and the defense witnesses?

                 Sent from my iPhone

                 On Mar 8, 2020, at 12:23 PM, Krouse, Michael (USANYS) <MKrouse@usa.doj.gov>
                 wrote:

                          Yeah, we do not consent.

                          Sent from my iPhone


                                                                 1
Case 1:18-cr-00224-AJN Document 403-8 Filed 02/22/21 Page 119 of 174


       On Mar 8, 2020, at 12:16 PM, Lake, Stephanie (USANYS)
       <SLake@usa.doj.gov> wrote:

              Wtf.

              From: Silverman, Nicholas <nsilverman@steptoe.com>
              Sent: Sunday, March 08, 2020 12:15 PM
              To: Kim, Jane (USANYS) 4 <JKim4@usa.doj.gov>; Krouse,
              Michael (USANYS) <MKrouse@usa.doj.gov>; Lake,
              Stephanie (USANYS) <SLake@usa.doj.gov>; 'Garrett
              Lynch' <LynchG@dany.nyc.gov>
              Cc: Bishop, Bruce <BBishop@steptoe.com>; Fragale,
              David <DFragale@steptoe.com>; Heberlig, Brian
              <BHeberlig@steptoe.com>; Weingarten, Reid
              <RWeingarten@steptoe.com>
              Subject: GX 411 ‐ Response Requested by 2:00 p.m. or
              Earlier

              Counsel:

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              instruction from the Court. Please inform us by
              2:00 p.m. (or earlier) whether you consent to the
              instruction:

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                        letter regarding an April 2011 transaction
                        involving Stratus International Contracting
                        Company. You saw that evidence this
                        morning instead of earlier in trial because
                        the government failed to turn it over before
                        trial as required by law. The defendant
                        learned of that evidence on Saturday
                        afternoon when the government disclosed it.



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             transmission in error, please notify the sender immediately by reply e-
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                  EXHIBIT 56
              Case 1:18-cr-00224-AJN Document 403-8 Filed 02/22/21 Page 122 of 174


Kim, Jane (USANYS) 4

From:                               Lake, Stephanie (USANYS)
Sent:                               Sunday, March 8, 2020 1:20 PM
To:                                 Lynch, Garrett (USANYS) [Contractor]
Cc:                                 Kim, Jane (USANYS) 4; Krouse, Michael (USANYS)
Subject:                            Re: GX 411 - Response Requested by 2:00 p.m. or Earlier


Emil thinks we should say we’re not offering. Then if they actually want it in themselves / can articulate some real Brady
theory, we’ll have to deal with it. Apparently Crotty gave a similar instruction in Shulte....



        On Mar 8, 2020, at 1:18 PM, Lynch, Garrett (USANYS) [Contractor] <GLynch@usa.doj.gov> wrote:


        In my office. Grab me whenever.

        From: Lake, Stephanie (USANYS) <SLake@usa.doj.gov>
        Sent: Sunday, March 8, 2020 1:16 PM
        To: Kim, Jane (USANYS) 4 <JKim4@usa.doj.gov>
        Cc: Krouse, Michael (USANYS) <MKrouse@usa.doj.gov>; Lynch, Garrett (USANYS) [Contractor]
        <GLynch@usa.doj.gov>
        Subject: Re: GX 411 ‐ Response Requested by 2:00 p.m. or Earlier

        I talked to Emil. Are you guys here / can we gather?




                On Mar 8, 2020, at 1:11 PM, Kim, Jane (USANYS) 4 <JKim4@usa.doj.gov> wrote:


                It’ll just be a screamfest. Unless there’s specific information you think we’ll get.

                From: Lake, Stephanie (USANYS) <SLake@usa.doj.gov>
                Sent: Sunday, March 8, 2020 12:53 PM
                To: Krouse, Michael (USANYS) <MKrouse@usa.doj.gov>
                Cc: Kim, Jane (USANYS) 4 <JKim4@usa.doj.gov>; Lynch, Garrett (USANYS) [Contractor]
                <GLynch@usa.doj.gov>
                Subject: Re: GX 411 ‐ Response Requested by 2:00 p.m. or Earlier

                That’s fine, although I feel like it’ll just be a scream fest.




                         On Mar 8, 2020, at 12:48 PM, Krouse, Michael (USANYS)
                         <MKrouse@usa.doj.gov> wrote:


                                                                1
Case 1:18-cr-00224-AJN Document 403-8 Filed 02/22/21 Page 123 of 174

       What do you think about proposing a phone call on this and the
       defense witnesses?

       Sent from my iPhone

       On Mar 8, 2020, at 12:23 PM, Krouse, Michael (USANYS)
       <MKrouse@usa.doj.gov> wrote:

              Yeah, we do not consent.

              Sent from my iPhone

              On Mar 8, 2020, at 12:16 PM, Lake, Stephanie (USANYS)
              <SLake@usa.doj.gov> wrote:

                      Wtf.

                      From: Silverman, Nicholas
                      <nsilverman@steptoe.com>
                      Sent: Sunday, March 08, 2020 12:15 PM
                      To: Kim, Jane (USANYS) 4
                      <JKim4@usa.doj.gov>; Krouse, Michael
                      (USANYS) <MKrouse@usa.doj.gov>;
                      Lake, Stephanie (USANYS)
                      <SLake@usa.doj.gov>; 'Garrett Lynch'
                      <LynchG@dany.nyc.gov>
                      Cc: Bishop, Bruce
                      <BBishop@steptoe.com>; Fragale,
                      David <DFragale@steptoe.com>;
                      Heberlig, Brian
                      <BHeberlig@steptoe.com>;
                      Weingarten, Reid
                      <RWeingarten@steptoe.com>
                      Subject: GX 411 ‐ Response Requested
                      by 2:00 p.m. or Earlier

                      Counsel:

                      We intend to request the following
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                      Court. Please inform us by 2:00 p.m.
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                      the instruction:

                              Government Exhibit 411 is a
                              June 2011 letter regarding an
                              April 2011 transaction
                              involving Stratus
                              International Contracting
                              Company. You saw that
                              evidence this morning instead
                              of earlier in trial because the
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                             government failed to turn it
                             over before trial as required
                             by law. The defendant
                             learned of that evidence on
                             Saturday afternoon when the
                             government disclosed it.



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                  EXHIBIT 57
              Case 1:18-cr-00224-AJN Document 403-8 Filed 02/22/21 Page 126 of 174


Kim, Jane (USANYS) 4

From:                              Krouse, Michael (USANYS)
Sent:                              Sunday, March 8, 2020 1:29 PM
To:                                Lake, Stephanie (USANYS)
Cc:                                Lynch, Garrett (USANYS) [Contractor]; Kim, Jane (USANYS) 4
Subject:                           Re: GX 411 - Response Requested by 2:00 p.m. or Earlier


I’m fine with that.

Sent from my iPhone

On Mar 8, 2020, at 1:19 PM, Lake, Stephanie (USANYS) <SLake@usa.doj.gov> wrote:

        Emil thinks we should say we’re not offering. Then if they actually want it in themselves / can articulate
        some real Brady theory, we’ll have to deal with it. Apparently Crotty gave a similar instruction in
        Shulte....



                 On Mar 8, 2020, at 1:18 PM, Lynch, Garrett (USANYS) [Contractor]
                 <GLynch@usa.doj.gov> wrote:


                 In my office. Grab me whenever.

                 From: Lake, Stephanie (USANYS) <SLake@usa.doj.gov>
                 Sent: Sunday, March 8, 2020 1:16 PM
                 To: Kim, Jane (USANYS) 4 <JKim4@usa.doj.gov>
                 Cc: Krouse, Michael (USANYS) <MKrouse@usa.doj.gov>; Lynch, Garrett (USANYS)
                 [Contractor] <GLynch@usa.doj.gov>
                 Subject: Re: GX 411 ‐ Response Requested by 2:00 p.m. or Earlier

                 I talked to Emil. Are you guys here / can we gather?




                         On Mar 8, 2020, at 1:11 PM, Kim, Jane (USANYS) 4
                         <JKim4@usa.doj.gov> wrote:


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                         we’ll get.

                         From: Lake, Stephanie (USANYS) <SLake@usa.doj.gov>
                         Sent: Sunday, March 8, 2020 12:53 PM
                         To: Krouse, Michael (USANYS) <MKrouse@usa.doj.gov>
                         Cc: Kim, Jane (USANYS) 4 <JKim4@usa.doj.gov>; Lynch, Garrett
                         (USANYS) [Contractor] <GLynch@usa.doj.gov>
                         Subject: Re: GX 411 ‐ Response Requested by 2:00 p.m. or Earlier

                                                              1
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       That’s fine, although I feel like it’ll just be a scream fest.




                On Mar 8, 2020, at 12:48 PM, Krouse, Michael (USANYS)
                <MKrouse@usa.doj.gov> wrote:

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                <MKrouse@usa.doj.gov> wrote:

                         Yeah, we do not consent.

                         Sent from my iPhone

                         On Mar 8, 2020, at 12:16 PM, Lake,
                         Stephanie (USANYS)
                         <SLake@usa.doj.gov> wrote:

                                  Wtf.

                                  From: Silverman,
                                  Nicholas
                                  <nsilverman@steptoe.c
                                  om>
                                  Sent: Sunday, March
                                  08, 2020 12:15 PM
                                  To: Kim, Jane (USANYS)
                                  4
                                  <JKim4@usa.doj.gov>;
                                  Krouse, Michael
                                  (USANYS)
                                  <MKrouse@usa.doj.gov
                                  >; Lake, Stephanie
                                  (USANYS)
                                  <SLake@usa.doj.gov>;
                                  'Garrett Lynch'
                                  <LynchG@dany.nyc.gov
                                  >
                                  Cc: Bishop, Bruce
                                  <BBishop@steptoe.com
                                  >; Fragale, David
                                  <DFragale@steptoe.co
                                  m>; Heberlig, Brian
                                  <BHeberlig@steptoe.co
                                  m>; Weingarten, Reid
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Case 1:18-cr-00224-AJN Document 403-8 Filed 02/22/21 Page 128 of 174

                         <RWeingarten@stepto
                         e.com>
                         Subject: GX 411 ‐
                         Response Requested by
                         2:00 p.m. or Earlier

                         Counsel:

                         We intend to request
                         the following curative
                         instruction from the
                         Court. Please inform
                         us by 2:00 p.m. (or
                         earlier) whether you
                         consent to the
                         instruction:

                                Government
                                Exhibit 411 is
                                a June 2011
                                letter
                                regarding an
                                April 2011
                                transaction
                                involving
                                Stratus
                                International
                                Contracting
                                Company. Yo
                                u saw that
                                evidence this
                                morning
                                instead of
                                earlier in trial
                                because the
                                government
                                failed to turn it
                                over before
                                trial as
                                required by
                                law. The
                                defendant
                                learned of that
                                evidence on
                                Saturday
                                afternoon
                                when the
                                government
                                disclosed it.


                                    3
Case 1:18-cr-00224-AJN Document 403-8 Filed 02/22/21 Page 129 of 174

                         Nicholas P. Silverman
                         Associate
                         nsilverman@steptoe.com


                         Steptoe
                         +1 202 429 8096 direct           Steptoe & Johnson LLP
                         +1 617 595 6559 mobile           1330 Connecticut Avenue, NW
                         +1 202 429 3902 fax              Washington, DC 20036
                                                          www.steptoe.com


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Case 1:18-cr-00224-AJN Document 403-8 Filed 02/22/21 Page 130 of 174




                  EXHIBIT 58
                    Case 1:18-cr-00224-AJN Document 403-8 Filed 02/22/21 Page 131 of 174


Kim, Jane (USANYS) 4

From:                                  Kim, Jane (USANYS) 4
Sent:                                  Sunday, March 8, 2020 1:33 PM
To:                                    Krouse, Michael (USANYS)
Cc:                                    Lake, Stephanie (USANYS); Lynch, Garrett (USANYS) [Contractor]
Subject:                               Re: GX 411 - Response Requested by 2:00 p.m. or Earlier


I’ll be in in 30.

On Mar 8, 2020, at 1:29 PM, Krouse, Michael (USANYS) <MKrouse@usa.doj.gov> wrote:

         I’m fine with that.

         Sent from my iPhone

         On Mar 8, 2020, at 1:19 PM, Lake, Stephanie (USANYS) <SLake@usa.doj.gov> wrote:

                     Emil thinks we should say we’re not offering. Then if they actually want it in themselves
                     / can articulate some real Brady theory, we’ll have to deal with it. Apparently Crotty
                     gave a similar instruction in Shulte....



                             On Mar 8, 2020, at 1:18 PM, Lynch, Garrett (USANYS) [Contractor]
                             <GLynch@usa.doj.gov> wrote:


                             In my office. Grab me whenever.

                             From: Lake, Stephanie (USANYS) <SLake@usa.doj.gov>
                             Sent: Sunday, March 8, 2020 1:16 PM
                             To: Kim, Jane (USANYS) 4 <JKim4@usa.doj.gov>
                             Cc: Krouse, Michael (USANYS) <MKrouse@usa.doj.gov>; Lynch, Garrett
                             (USANYS) [Contractor] <GLynch@usa.doj.gov>
                             Subject: Re: GX 411 ‐ Response Requested by 2:00 p.m. or Earlier

                             I talked to Emil. Are you guys here / can we gather?




                                     On Mar 8, 2020, at 1:11 PM, Kim, Jane (USANYS) 4
                                     <JKim4@usa.doj.gov> wrote:


                                     It’ll just be a screamfest. Unless there’s specific
                                     information you think we’ll get.

                                     From: Lake, Stephanie (USANYS) <SLake@usa.doj.gov>
                                     Sent: Sunday, March 8, 2020 12:53 PM

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Case 1:18-cr-00224-AJN Document 403-8 Filed 02/22/21 Page 132 of 174

             To: Krouse, Michael (USANYS) <MKrouse@usa.doj.gov>
             Cc: Kim, Jane (USANYS) 4 <JKim4@usa.doj.gov>; Lynch,
             Garrett (USANYS) [Contractor] <GLynch@usa.doj.gov>
             Subject: Re: GX 411 ‐ Response Requested by 2:00 p.m.
             or Earlier

             That’s fine, although I feel like it’ll just be a scream fest.




                      On Mar 8, 2020, at 12:48 PM, Krouse,
                      Michael (USANYS)
                      <MKrouse@usa.doj.gov> wrote:

                     What do you think about proposing a
                     phone call on this and the defense
                     witnesses?

                     Sent from my iPhone

                     On Mar 8, 2020, at 12:23 PM, Krouse,
                     Michael (USANYS)
                     <MKrouse@usa.doj.gov> wrote:

                              Yeah, we do not
                              consent.

                              Sent from my iPhone

                              On Mar 8, 2020, at
                              12:16 PM, Lake,
                              Stephanie (USANYS)
                              <SLake@usa.doj.gov>
                              wrote:

                                       Wtf.

                                       From:
                                       Silverm
                                       an,
                                       Nichola
                                       s
                                       <nsilver
                                       man@s
                                       teptoe.
                                       com>
                                       Sent:
                                       Sunday,
                                       March
                                       08,
                                       2020
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Case 1:18-cr-00224-AJN Document 403-8 Filed 02/22/21 Page 133 of 174

                               12:15
                               PM
                               To:
                               Kim,
                               Jane
                               (USANY
                               S) 4
                               <JKim4
                               @usa.d
                               oj.gov>;
                               Krouse,
                               Michael
                               (USANY
                               S)
                               <MKro
                               use@us
                               a.doj.g
                               ov>;
                               Lake,
                               Stepha
                               nie
                               (USANY
                               S)
                               <SLake
                               @usa.d
                               oj.gov>;
                               'Garrett
                               Lynch'
                               <Lynch
                               G@dan
                               y.nyc.g
                               ov>
                               Cc:
                               Bishop,
                               Bruce
                               <BBisho
                               p@step
                               toe.co
                               m>;
                               Fragale,
                               David
                               <DFrag
                               ale@st
                               eptoe.c
                               om>;
                               Heberli
                               g, Brian
                               <BHebe
                               rlig@st
                               eptoe.c
                               om>;
                               Weinga

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Case 1:18-cr-00224-AJN Document 403-8 Filed 02/22/21 Page 134 of 174

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                               Reid
                               <RWein
                               garten
                               @stept
                               oe.com
                               >
                               Subject
                               : GX
                               411 ‐
                               Respon
                               se
                               Reques
                               ted by
                               2:00
                               p.m. or
                               Earlier

                               Counse
                               l:

                               We
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                               curativ
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                               Please
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                               2:00
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Case 1:18-cr-00224-AJN Document 403-8 Filed 02/22/21 Page 135 of 174

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Case 1:18-cr-00224-AJN Document 403-8 Filed 02/22/21 Page 136 of 174

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Case 1:18-cr-00224-AJN Document 403-8 Filed 02/22/21 Page 137 of 174

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Case 1:18-cr-00224-AJN Document 403-8 Filed 02/22/21 Page 138 of 174

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Case 1:18-cr-00224-AJN Document 403-8 Filed 02/22/21 Page 139 of 174

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Case 1:18-cr-00224-AJN Document 403-8 Filed 02/22/21 Page 140 of 174

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Case 1:18-cr-00224-AJN Document 403-8 Filed 02/22/21 Page 141 of 174

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                               an@ste
                               ptoe.co
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                               Step
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                               +1 202 429 8096 direct   Steptoe & Johnson LLP
                               +1 617 595 6559 mobile   1330 Connecticut Avenue, NW
                               +1 202 429 3902 fax      Washington, DC 20036
                                                        www.steptoe.com


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Case 1:18-cr-00224-AJN Document 403-8 Filed 02/22/21 Page 142 of 174
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Case 1:18-cr-00224-AJN Document 403-8 Filed 02/22/21 Page 143 of 174




                  EXHIBIT 59
              Case 1:18-cr-00224-AJN Document 403-8 Filed 02/22/21 Page 144 of 174


Kim, Jane (USANYS) 4

From:                             Krouse, Michael (USANYS)
Sent:                             Sunday, March 8, 2020 3:51 PM
To:                               Lake, Stephanie (USANYS); Kim, Jane (USANYS) 4; Garrett Lynch; Lynch, Garrett
                                  (USANYS) [Contractor]
Subject:                          FW: Activity in Case 1:18-cr-00224-AJN USA v. Nejad Letter Motion


This could have been worse, I think.

From: NYSD_ECF_Pool@nysd.uscourts.gov <NYSD_ECF_Pool@nysd.uscourts.gov>
Sent: Sunday, March 8, 2020 3:20 PM
To: CourtMail@nysd.uscourts.gov
Subject: Activity in Case 1:18‐cr‐00224‐AJN USA v. Nejad Letter Motion


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                                                U.S. District Court

                                          Southern District of New York

Notice of Electronic Filing

The following transaction was entered by Heberlig, Brian on 3/8/2020 at 3:20 PM EDT and filed on 3/8/2020
Case Name:           USA v. Nejad
Case Number:         1:18-cr-00224-AJN
Filer:               Dft No. 1 - Ali Sadr Hashemi Nejad
Document Number: 274

Docket Text:
LETTER MOTION addressed to Judge Alison J. Nathan from Brian M. Heberlig dated March 8,
2020 re: Curative Instruction re GX 411 . Document filed by Ali Sadr Hashemi Nejad.
(Attachments: # (1) Exhibit A - GX 411, # (2) Exhibit B - Transcript of Curative
Instruction)(Heberlig, Brian)


1:18-cr-00224-AJN-1 Notice has been electronically mailed to:

Andrew James DeFilippis andrew.defilippis@usdoj.gov, CaseView.ECF@usdoj.gov,
USANYS.ECF@USDOJ.GOV

                                                           1
            Case 1:18-cr-00224-AJN Document 403-8 Filed 02/22/21 Page 145 of 174

Brian Matthew Heberlig bheberlig@steptoe.com, bhamerschlag@steptoe.com, Mwielkop@steptoe.com,
nsilverman@steptoe.com

Bruce C. Bishop    bbishop@steptoe.com

David Matthew Fragale     dfragale@steptoe.com

David William Denton , Jr david.denton@usdoj.gov, CaseView.ECF@usdoj.gov,
USANYS.ECF@USDOJ.GOV

Jane Kim    jane.kim@usdoj.gov, USANYS.ECF@USDOJ.GOV

Matthew Joseph Laroche matthew.laroche@usdoj.gov, CaseView.ECF@usdoj.gov,
USANYS.ECF@USDOJ.GOV

Michael Kim Krouse michael.krouse@usdoj.gov, CaseView.ECF@usdoj.gov,
USANYS.ECF@USDOJ.GOV

Michelle Lynn Levin     mlevin@steptoe.com, ehartman@steptoe.com, ocorn@steptoe.com, spu@steptoe.com

Nicholas Paul Silverman    nsilverman@steptoe.com

Rebekah Allen Donaleski Rebekah.Donaleski@usdoj.gov, CaseView.ECF@usdoj.gov,
USANYS.ECF@USDOJ.GOV

Reid Weingarten    rweingarten@steptoe.com

Stephanie Lindsay Lake stephanie.lake@usdoj.gov, CaseView.ECF@usdoj.gov,
USANYS.ECF@USDOJ.GOV

1:18-cr-00224-AJN-1 Notice has been delivered by other means to:

The following document(s) are associated with this transaction:

Document description:Main Document
Original filename:n/a
Electronic document Stamp:
[STAMP dcecfStamp_ID=1008691343 [Date=3/8/2020] [FileNumber=23689567-0
] [4bcab8d6e997ff1e6849482727f914bc3d85dd9d8edf8ecb49c3f7217cefeb7c7af
8cd1238af5cfa19056c8618d17454222a420a3cd0cc909f049aaf91d78d15]]
Document description:Exhibit A - GX 411
Original filename:n/a
Electronic document Stamp:
[STAMP dcecfStamp_ID=1008691343 [Date=3/8/2020] [FileNumber=23689567-1
] [3d6df087e158911cef9c44f9ca5baaa38df82f89da28f73abc12f8758c3ad5f0b57
94476e79bdaf40d2ead63a149cf19f4bf79939288fde4c11e4c8338a95462]]
Document description:Exhibit B - Transcript of Curative Instruction
Original filename:n/a
Electronic document Stamp:
[STAMP dcecfStamp_ID=1008691343 [Date=3/8/2020] [FileNumber=23689567-2

                                                       2
          Case 1:18-cr-00224-AJN Document 403-8 Filed 02/22/21 Page 146 of 174

] [8042b8d1bf6f842028d3363912338739015f72456ba87b3d4cd7331e9df8d09ce47
6941d511d21705ecc9f2defe8e13b670a5b28df85c794deb65bfe8ad6c7a5]]




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Case 1:18-cr-00224-AJN Document 403-8 Filed 02/22/21 Page 147 of 174




                  EXHIBIT 60
              Case 1:18-cr-00224-AJN Document 403-8 Filed 02/22/21 Page 148 of 174


Kim, Jane (USANYS) 4

From:                              Nathan NYSD Chambers <NathanNYSDChambers@nysd.uscourts.gov>
Sent:                              Sunday, March 8, 2020 4:04 PM
To:                                Kim, Jane (USANYS) 4; Lake, Stephanie (USANYS); Bbishop_steptoe.com; Fragale, David;
                                   Levin, Michelle; Silverman, Nicholas; Weingarten, Reid; Lynch, Garrett; Lynch, Garrett
                                   (USANYS) [Contractor]; Heberlig, Brian; Krouse, Michael (USANYS)
Subject:                           RE: Order in 18cr224
Attachments:                       18cr224 Order 3.8.2020.pdf


Counsel,

Attached please find another Order from Judge Nathan that will appear on the docket on Monday. Please confirm
receipt.

Sincerely,
Alyssa O’Gallagher
Law Clerk to the Hon. Alison J. Nathan

From: Nathan NYSD Chambers
Sent: Sunday, March 8, 2020 12:48 PM
To: Kim, Jane (USANYS) 4 <Jane.Kim@usdoj.gov>; Lake, Stephanie (USANYS) <Stephanie.Lake@usdoj.gov>;
Bbishop_steptoe.com <Bbishop@steptoe.com>; Fragale, David <DFragale@steptoe.com>; Levin, Michelle
<mlevin@steptoe.com>; Silverman, Nicholas <nsilverman@steptoe.com>; Weingarten, Reid
<RWeingarten@steptoe.com>; Lynch, Garrett <LynchG@dany.nyc.gov>; Lynch, Garrett (USANYS) [Contractor]
<Garrett.Lynch@usdoj.gov>; Heberlig, Brian <BHeberlig@steptoe.com>; Krouse, Michael (USANYS)
<Michael.Krouse@usdoj.gov>
Subject: RE: Order in 18cr224

Counsel,

Please confirm receipt of this Order.

Sincerely,
Alyssa O’Gallagher
Law Clerk to the Hon. Alison J. Nathan



From: Nathan NYSD Chambers
Sent: Sunday, March 8, 2020 12:41 PM
To: Kim, Jane (USANYS) 4 <Jane.Kim@usdoj.gov>; Lake, Stephanie (USANYS) <Stephanie.Lake@usdoj.gov>;
Bbishop_steptoe.com <Bbishop@steptoe.com>; Fragale, David <DFragale@steptoe.com>; Levin, Michelle
<mlevin@steptoe.com>; Silverman, Nicholas <nsilverman@steptoe.com>; Weingarten, Reid
<RWeingarten@steptoe.com>; Lynch, Garrett <LynchG@dany.nyc.gov>; Lynch, Garrett (USANYS) [Contractor]
<Garrett.Lynch@usdoj.gov>; Heberlig, Brian <BHeberlig@steptoe.com>; Krouse, Michael (USANYS)
<Michael.Krouse@usdoj.gov>
Subject: Order in 18cr224

Counsel,

                                                            1
             Case 1:18-cr-00224-AJN Document 403-8 Filed 02/22/21 Page 149 of 174

Attached please find an Order from Judge Nathan that will appear on the docket on Monday.

Sincerely,
Alyssa O’Gallagher
Law Clerk to the Hon. Alison J. Nathan




                                                         2
Case 1:18-cr-00224-AJN Document 403-8 Filed 02/22/21 Page 150 of 174




                  EXHIBIT 60-1
Case 1:18-cr-00224-AJN Document 403-8 Filed 02/22/21 Page 151 of 174
Case 1:18-cr-00224-AJN Document 403-8 Filed 02/22/21 Page 152 of 174




                  EXHIBIT 61
               Case 1:18-cr-00224-AJN Document 403-8 Filed 02/22/21 Page 153 of 174


Kim, Jane (USANYS) 4

From:                              Krouse, Michael (USANYS)
Sent:                              Sunday, March 8, 2020 4:04 PM
To:                                Crowley, Shawn (USANYS); Bove, Emil (USANYS); Lake, Stephanie (USANYS); Kim, Jane
                                   (USANYS) 4; Garrett Lynch; Lynch, Garrett (USANYS) [Contractor]
Subject:                           Defense letter re curative instruction
Attachments:                       Defense letter re curative instruction (March 8, 2020).pdf


This is what they filed.

Michael Krouse
Assistant United States Attorney
Southern District of New York
One St. Andrew’s Plaza
New York, NY 10007
(212) 637‐2279




                                                           1
Case 1:18-cr-00224-AJN Document 403-8 Filed 02/22/21 Page 154 of 174




                  EXHIBIT 61-1
       Case 1:18-cr-00224-AJN
          Case                 Document
               1:18-cr-00224-AJN        403-8
                                  Document 274 Filed
                                                Filed02/22/21
                                                      03/08/20 Page
                                                                Page155
                                                                     1 ofof3174
Brian M. Heberlig
202 429 8134
bheberlig@steptoe.com

1330 Connecticut Avenue, NW
Washington, DC 20036-1795
202 429 3000 main
www.steptoe.com




                                              March 8, 2020


 By ECF

 The Honorable Alison J. Nathan
 United States District Court
 Southern District of New York
 40 Foley Square, Room 2102
 New York, NY 10007

          Re:       United States v. Ali Sadr Hashemi Nejad, Case No. 18-cr-224 (AJN)

 Dear Judge Nathan:

         On behalf of Defendant Ali Sadr Hashemi Nejad, we write to request a curative
 instruction. We have conferred with the government who stated that it opposes this request.

         On Saturday afternoon around 4:00 p.m., the government produced GX 411 (attached as
 Exhibit A), which had not been previously disclosed to the defense. GX 411 reveals that in
 connection with the first U.S. dollar payment in this case, the intermediary bank wrote a letter to
 OFAC disclosing certain information about the transactions. Among other things, the
 intermediary bank disclosed to OFAC that Stratus Turkey (Stratus International Contracting J.S.)
 was affiliated with Stratus Iran (Stratus International Contracting Company) and implied that the
 two companies were either unitary or cooperating on the Ojeda project in Venezuela. The
 intermediary bank attached Stratus Iran’s website describing its ongoing work on the Ojeda
 project. The intermediary bank concluded that this information was not subject to mandatory
 disclosure as indicated by its note that it was “voluntarily informing OFAC.” The government
 has not produced any response from OFAC and to defense counsel’s knowledge, no response
 exists. Cf. Tr. 580, Test. of Ted Kim (Mar. 5, 2020) (agreeing that to his knowledge, “this matter
 was never investigated by OFAC”).

          GX 411 is exculpatory evidence that:

                   Stratus Turkey’s affiliation with Stratus Iran was not material either to OFAC or
                    the intermediary banks;

                   intermediary banks conducted independent investigation and could easily identify
                    the affiliation between Stratus Turkey and Stratus Iran or even (erroneously)
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               conclude that the two companies were a single entity that “may be an Iranian
               company”; and

              neither the intermediary bank nor OFAC deemed the disparities in information
               about the two Stratus International Contractings working on the Ojeda project as
               important enough to stop U.S. dollar payments to Stratus International
               Contracting J.S.

The government should have disclosed GX 411 under Brady, Giglio, and Rule 16.

        In light of the government’s failure to disclose this evidence before trial,1 the defense
respectfully requests a curative instruction. Based on a similar mid-trial disclosure in United
States v. Slough, Judge Lamberth issued the curative instruction attached as Exhibit B. The
defense has pasted that instruction below, edited only to reflect the facts of this case:

       Government Exhibit 411 is a June 2011 letter regarding an April 2011 transaction
       involving Stratus International Contracting Company. You saw that evidence this
       morning instead of earlier in trial because the government failed to turn it over before
       trial as required by law. The defendant learned of that evidence on Saturday afternoon
       when the government disclosed it.

Tr. 6, United States v. Slough, No. 08-cr-360-RCL (D.D.C. Aug. 5, 2014) (relevant text
highlighted in Ex. B). The defense requests that this instruction be read to the jury on Monday
after GX 411 is admitted. The government opposes this request but does not object to the
defense admitting this document in its case if the government chooses not to offer it.

                                              Respectfully submitted,

                                              /s/ Brian M. Heberlig________
                                              Reid H. Weingarten
                                              STEPTOE & JOHNSON LLP
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                                              New York, NY 10036
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                                              rweingarten@steptoe.com




       1
         The government represents that it learned of this evidence in mid-January 2020 and that
it came from an unrelated DANY investigation. The government states that it believed this
document was part of the Commerzbank subpoena return that was produced in discovery. It was
not.
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                                      Bruce C. Bishop (Pro Hac Vice)
                                      David M. Fragale
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                                      Fax: (202) 429-3902
                                      bheberlig@steptoe.com

                                      Counsel for Defendant Ali Sadr Hashemi Nejad

cc:    Counsel of Record (via ECF)
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Kim, Jane (USANYS) 4

From:                              Crowley, Shawn (USANYS)
Sent:                              Sunday, March 8, 2020 4:04 PM
To:                                Krouse, Michael (USANYS); Bove, Emil (USANYS); Lake, Stephanie (USANYS); Kim, Jane
                                   (USANYS) 4; Garrett Lynch; Lynch, Garrett (USANYS) [Contractor]
Subject:                           RE: Defense letter re curative instruction


Thanks. Can you send us the document itself?

From: Krouse, Michael (USANYS) <MKrouse@usa.doj.gov>
Sent: Sunday, March 08, 2020 4:04 PM
To: Crowley, Shawn (USANYS) <SCrowley@usa.doj.gov>; Bove, Emil (USANYS) <EBove@usa.doj.gov>; Lake, Stephanie
(USANYS) <SLake@usa.doj.gov>; Kim, Jane (USANYS) 4 <JKim4@usa.doj.gov>; Garrett Lynch <LynchG@dany.nyc.gov>;
Lynch, Garrett (USANYS) [Contractor] <GLynch@usa.doj.gov>
Subject: Defense letter re curative instruction

This is what they filed.

Michael Krouse
Assistant United States Attorney
Southern District of New York
One St. Andrew’s Plaza
New York, NY 10007
(212) 637‐2279




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                  EXHIBIT 63
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Kim, Jane (USANYS) 4

From:                              Krouse, Michael (USANYS)
Sent:                              Sunday, March 8, 2020 4:07 PM
To:                                Crowley, Shawn (USANYS); Bove, Emil (USANYS); Lake, Stephanie (USANYS); Kim, Jane
                                   (USANYS) 4; Garrett Lynch; Lynch, Garrett (USANYS) [Contractor]
Subject:                           RE: Defense letter re curative instruction
Attachments:                       GX 411.pdf




From: Crowley, Shawn (USANYS) <SCrowley@usa.doj.gov>
Sent: Sunday, March 8, 2020 4:04 PM
To: Krouse, Michael (USANYS) <MKrouse@usa.doj.gov>; Bove, Emil (USANYS) <EBove@usa.doj.gov>; Lake, Stephanie
(USANYS) <SLake@usa.doj.gov>; Kim, Jane (USANYS) 4 <JKim4@usa.doj.gov>; Garrett Lynch <LynchG@dany.nyc.gov>;
Lynch, Garrett (USANYS) [Contractor] <GLynch@usa.doj.gov>
Subject: RE: Defense letter re curative instruction

Thanks. Can you send us the document itself?

From: Krouse, Michael (USANYS) <MKrouse@usa.doj.gov>
Sent: Sunday, March 08, 2020 4:04 PM
To: Crowley, Shawn (USANYS) <SCrowley@usa.doj.gov>; Bove, Emil (USANYS) <EBove@usa.doj.gov>; Lake, Stephanie
(USANYS) <SLake@usa.doj.gov>; Kim, Jane (USANYS) 4 <JKim4@usa.doj.gov>; Garrett Lynch <LynchG@dany.nyc.gov>;
Lynch, Garrett (USANYS) [Contractor] <GLynch@usa.doj.gov>
Subject: Defense letter re curative instruction

This is what they filed.

Michael Krouse
Assistant United States Attorney
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One St. Andrew’s Plaza
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                                                           1
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